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                     EXHIBIT 19
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                            UNITED STATES DISTMCT COURT
                          FOR THE DISTMCT OF MASSACHUSETTS


 COMMONWEALTH OF
 MASSACHUSETTS; et al,

                                  Plaintiffs,
                                                            No. l:25-cv-

          V.




 ROBERT F. KENNEDY, JR., et al.,


                                  Defendants.




                         DECLARATION OF DR. BRUCE E. JARRELL

          I, Brace E. Jan-ell, declare under the penalty of perjury pursuant to 28 U.S.C. § 1746 that


the foregoing is true and correct:


          1. I am President of the University of Maryland, Baltimore ("UMB"), a constituent


institution of the University System of Maryland ("USM"), the State of Maryland's public system


of higher education. As President, I have statutory responsibility and accountability to the USM


Board of Regents for developing the mission and successful conduct of UMB and for the


supervision of each ofUMB's departments. I am familiar with the information in the statements


set forth below through personal knowledge or information provided to me in connection with my


duties.


          2. I submit this Declaration in support of the States' Motion for Preliminary


Injunction.


Professional Background


          3. I have been President of UMB since 2020. From 2012 until my appointment as


President, I served as UMB's chief academic and research officer and senior vice president,



                                                   1
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holding the title of Provost and Executive Vice President. I previously served as the institutional


official for human research protection and animal research protections and have remained actively


involved in research and medical student education throughout my career. I joined UMB in 1997


as chair of the University of Maryland School of Medicine's Department of Surgery.


       4. UMB's mission is to improve the human condition and serve the public good of


Maryland and society at large through education, research, clinical care, and service.


       5. Opened in 1807, UMB is Maryland's public health, law, and human services


university, dedicated to excellence in education, research, clinical care, and service. UMB enrolls


nearly 6,700 students in six nationally ranked professional schools — dentistry, law, medicine,


nursing, pharmacy, and social work — and an interdisciplinary School of Graduate Studies. The


University offers 97 doctoral, master's, baccalaureate, and certificate programs and confers most


of the professional practice doctoral degrees awarded in Maryland. UMB employs more than 8,200


employees working toward fulfillment ofUMB's mission.


       6. UMB is a thriving academic health center combining cutting-edge biomedical


research and exceptional patient care. UMB's extramural funding totaled $638 million in Fiscal


Year 2024, and each temu'ed/tenure-track faculty member brings $1,45 million in research grants,


on average, into UMB every year.


       7. I am providing this declaration to explain the impacts of NIH's delay and/or


cancellation of study sections and advisory council meetings. NIH's abrupt cessation of NIH


advisory council meetings in January 2025 created a situation in which grant proposals submitted


for funding have remained unfunded indefinitely. These are grants that were previously evaluated


by the relevant scientific peer-review committee or "study section" (also known as scientific


review group or initial review group) and given a priority score (based on scientific merit) that
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traditionally is within a range that would result in the awarding of the grant funds. These ranges


are based on the recent history of similar grants funded by the same institute or center within NIH.


       8. The NIH meeting blockade severely impacts UMB by creating a domino effect of


delays for review of newly submitted grant proposals, for review of previously submitted grant


proposals, for notices of award of grant proposals that are in the queue for award, and for


extensions of already approved awards. These delays create lapses in funding and make it


impossible for UMB to plan and budget for personnel whose positions are funded, directly or


indirectly, by extramural funding. Most of these personnel hold positions that require lengthy


notice periods.


Reliance on NIH Funding


       9. In fiscal year 2024, UMB received funding through the National Institutes of Health

("NIH") to support 446 active NIH awards, totaling $213.9 million, and an additional 299 projects

and $34.2 million in NIH pass-through funding.


        10. VMB receives NIH grants from 22 institutes or centers within NIH, including


National Institute of Allergy and Infectious Diseases (NIAID), National Cancer Institute (NCI),

National Heart, Lung, and Blood Institute (NHLBI), National Institute of Neurological Disorders


and Stroke (NINDS), National Institute on Drug Abuse (NIDA), National Institute on Aging

(NIA), National Institute of Mental Health (NIMH), National Institute of Diabetes and Digestive

and Kidney Diseases (NIDDK), Eunice Kennedy Shriver National Institute of Child Health and

Human Development (NICHD), National Institute of General Medical Sciences (NIGMS),

National Institute of Dental and Craniofacial Research (NIDCR), National Institute of Arthritis

and Musculoskeletal and Skin Diseases (NIAMS), Fogarty International Center (FIC), National

Institute on Alcohol Abuse and Alcoholism (NIAAA), National Eye Institute (NEI), National
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Library of Medicine (NLM), National Institute on Deafness and Other Communication Disorders


(NIDCD), National Human Genome Research Institute (NHGRI), National Institute on Minority

Health and Health Disparities (NIMHD), National Center for Complementary and Integrative


Health (NCCIH), National Institute of Environmental Health Sciences (NIEHS), National Institute

ofBiomedical Imaging and Bioengineering (NIBIB).

        11. Through those NIH awards, UMB funds approximately 955 FTEs (full-time


equivalent positions), and through NIH passthrough awards, UMB funds an additional 161 FTEs.


        12. The work done by UMB on NTH-funded projects provides education and training


in diseases such as cancer, metabolic disorders like diabetes, vaccinology, cardiovascular disease,


neuroscience, schizophrenia, gastroenterology, aging, immunity, clinical and translational


research, research ethics and integrity, oral and craniofacial health, muscle biology, immunology,


infectious disease, and physician-scientist training.


        13. UMB contributes to a highly skilled workforce in Science, Technology,


Engineering and Mathematics ("STEM") fields, benefiting Maryland's economy.


Typical Timeline and Processes for NIH Grant Awards


        14. Through my work as President, and previously as chief academic and research


officer, I have a strong understanding of the NIH grant process, grounded in over 25 years of


experience in research-related roles.


        15. Sponsored Programs Administration at UMB works with researchers to submit


grant applications and tracks grant applications and processes awards. NIH grant applications are


typically submitted via NIH's online portal, often in response to a Notice of Funding Opportunity.


From there, they are assigned to a "study section" where the application is subjected to peer review
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and judged on its scientific merit. The grant application is then given a score. If the grant receives


what is called a "fundable score," there is a high probability that the grant will be funded.


        16. What constitutes a fundable score is dependent on several factors, as every institute


is different. Mlost of the standing study section reviews result in an impact score and percentile


score for each proposal. Others (e.g., special emphasis panels and non-CSR reviews) result only


in an impact score. Impact scores run from 10 to 90; 10 is best (i.e., high impact). NIH's published


grant review processes indicate that applications receiving an impact score of 10 to 30 are most


likely to be funded. Percentile scores run from 1 to 99; a lower percentage indicates a better score.


Researchers would consider a percentile score of less than 10% as virtually certain to receive


funding.


        17. After the study section, the grant application is sent to an "advisory council" where


the ultimate decision on whether to fund the grant is made. After the advisory council meets, a


Notice of Award is issued confirming whether the grant will be funded.


        18. The process for competitive renewals is very similar, but it is even more common


for a grant that has been funded in the past to be renewed.


        19. The budget process at UMB relies upon the NIH grant application, review, and


approval cycle. Historically, UMB has relied on grants being reviewed and scored within 3 months


of submission and awards starting 8 to 9 months after submission.


        20. Once a grant receives a score, UMB can consider whether to include the funding


coming from that grant as part of its budget for the coming year.


Delays and Irregularities in the Processing of NIH Grant Applications


        21. Since late January 2025, UMB has seen severe and unprecedented delays in the


processing ofNIH grant applications. Researchers have had their grant application study sections
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and advisory councils canceled or otherwise not scheduled, and grant application scoring has been


significantly delayed,


       22. UMB has not received formal notice of changes to the review process or evaluation


criteria or adoption of changes in agency priorities.


       23. As of March 28, 2025, UMB has approximately 3 80 proposals totaling $ 1.04 billion

awaiting NIH study section review.


       24. As of March 28, 2025, UMB has 32 proposals totaling $21.4 million that received


fundable scores awaiting NIH advisoiy council and Notice of Award.


       25. As of March 28, 2025, UMB has 10 proposals totaling $28.1 million which have

received fundable scores and have been previously reviewed by NIH advisory council but remain


listed as Pending Administrative Review and another 2 proposals totaling $9.4 million that have


received fundable scores and were reviewed by NIH advisoiy council in September 2024 but have


not even been placed in the Pending Administrative Review status. When UMB has inquired, the

response provided indicated that actions are "paused" or "under review."


       26. As of March 28, 2025, UMB has 44 proposals totaling $33.2 million that received


possibly fundable scores awaiting NIH advisory council and Notice of Award.


Terminations ofNIH Grants


       27. As of April 10, 2025, UMB has received notices of termination of 14 NIH awards.


       28. The terminations received as ofApril 10, 2025 are attached as Exhibits 1-14.


       29. These terminations will result in the loss of more than $33.3 million in research


money to UMB.




         UMB email addresses and telephone numbers have been redacted from the exhibits to this declaration.

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          30. The termination notices for these grants have provided very little information to


explain the terminations, stating only that the research no longer "effectuates agency priorities."


In my more than 25 years working at UMB, I have not seen this language previously used to cancel


grants.


          31. The termination notices have also stated that there is no corrective action that can


be taken to ensure the grant aligns with agency priorities. However, prior to receipt of the


termination, UMB was not given notice of any opportunity to submit any "corrected" grant


materials to align with agency priorities, nor was it advised of any new priorities that grant


materials should address.


          32. The terminated grants include:


             a. 5R01DE03 2225-02: Research into the biological differences in brain mechanisms


                 between males and females in mediating chronic orofacial and comorbid pain


                 conditions. A key objective of the project was to explore the role of testosterone in


                 modulating pain responses and brain circuitries involved in endogenous pain


                 modulation. Testosterone is a crucial gonadal hormone with significant


                 implications for pain management strategies in both men and women. This area of


                 research is vastly understudied, yet it holds high translational potential for


                 developing effective pain management strategies. The project's rigorous


                 methodology and significant research potential earned it the highest score in the


                 study section. This underscores the project's potential to drive meaningful


                 advancements in the understanding of sex differences in chronic pain and the


                 development of effective pain management strategies.
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    b. 3R01MD019029-02S1 and 5R01MD019029-02: Using modem psychometric

       techniques and economic indicators, the research associated with these two grants


       was aimed at assessing how the wealth gap, influenced by racial and ethnic


       inequalities, affects health outcomes across different groups. The overall positive


       impact of the tool will be its use in research settings to find effective interventions


       to reduce racial health inequities.


    c. 5UG1HD113162-02: In collaboration with NIH's AHISA, this implementation


       science study tests a youth-tailored intervention to improve HIV prevention and


       HIV care continuum for vulnerable youths at risk ofHIV or living with HIV across


       West, East, and Southern African countries. Centralized resources for regulatory


       compliance, data management, data quality, and data analysis across the clinical


       research performing sites promote efficiency and quality.


    d. 5R01HL165686-03: There is an increasing burden of HW-associated


       noncommunicable (HIVNCD) diseases globally which often cluster among


       populations facing persistent social and economic inequalities. This research


       examines population-level clustering of systemic factors (stigma, depression,


       material insecurity, polysubstance use, intimate partner violence, and police and


       other violence) and HIVNCD in Nigeria. It will provide critical data for informing

       the development of integrated, multilevel interventions intended to remediate


       disparities in HIVNCD and their outcomes.


    e. 3D43TWO 12274-03, -03S1, -03S2, and -03S3: These four grants supported the


       Integrated Networks of Scholars in Global Health Research Training (INSIGHT)

       which is a consortium formed among UMB, the University of Alabama at
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       Birmingham, the Baylor College of Medicine, and the University of Pittsburgh. The


       work includes 169 faculty members across a multidisciplinary and multi-


       institutional consortium that supports training for the next generation of global


       health scholars from the United States and low- and middle-income countries


       through mentored research experiences at 24 established partner institutions across


       19 countries in Africa, Asia, and Latin America and the Caribbean. Strong


       emphases are on a broad range of global health research areas, including combatting


       the global HIV epidemic and associated co-morbidities, emerging and re-emerging


       infectious diseases, non-communicable diseases, and mental health.


    f. 5R01MH134721-02: Based on the documented, continued disproportionate rates


       ofHIV infection among certain populations, this is a public health project aimed at


       identifying scalable interventions to support pre-exposure prophylaxis use.


    g. 1U19AI171443-01: This pass-through grant related to the multidisciplinary Center

       for Antiviral Medicines & Pandemic Preparedness which focuses on development


       of antiviral drugs to combat coronaviruses and other viruses with pandemic


       potential.


    h. 5T32GM144951-04: To address the lack of diversity in the science, technology,


       engineering, and math (STEM.) workforce, this program aims to increase the


       participation of underrepresented minorities in biomedical Ph.D. programs,


       increase their retention rates, and provide career development to prepare students


       for a career in STEM. The program supported 5 first-year students with fellowships


       each year (15 total supported during first three years of award). In addition, the
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        program supported a community of students (55) who, while not on the fellowships,


        benefited from program activities, such as seminars.


     i. 5R25GM113262-10: The project addresses urgent needs and demands for


        workforce and experiential diversity for creative problem solving of increasingly


        complex issues in biomedical research and healthcare. As part of the grant, the


        university, with its partners, administers 20 unique and interactive research training


        and mentoring programs that form a training continuum beginning at the 4th grade


        with UMB's Mini Ivledical School and continuing to the FIRST program, described


        below. The grant supported 5 students and multiple faculty and staff.


     j. 1UC2CA293782-01: This project provides localized technical assistance and


        scientific support for community-led, health equity structural interventions with a


        goal of completing these interventions in a rigorous scientific manner and in a way


        that demonstrates how patients and researchers can collaborate to address social


        determinants of health and advance health equity in neighborhoods and society at


        large.


     k. 5U54CA272205-03: In 2011, a Congressionally mandated National Academies


        report, Expanding Underrepresented Minority Participation: America s Science and


        Technology' Talent at the Crossroads, recommended, among other things, the


        establishment of a program like NSF's ADVANCE program for underrepresented


        minorities in Science and Engineering, The NIH established the NIH Common


        Fund's Faculty Institutional Recruitment for Sustainable Transformation (FIRST)


        program to enhance and maintain cultures of inclusive excellence in the biomedical


        research community. Because evidence suggests that participation in the field of




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               biomedical research by individuals with a variety of lived experiences can help to


               alleviate healthcare disparities, this program created a comprehensive model to


               encourage outstanding individuals to enter the academic profession. Initial work


               toward this goal focused on hiring multiple cohorts of promising early-stage


               investigators who bring new perspectives to biomedical research by encouraging


               applications from a broad range of applicants with backgrounds and life


               experiences to bring new perspectives to biomedical research. The award was


               intended to support funding of 11 faculty, 7 of whom have been hired already.


Comparisons Across Administrations


       33. In prior years, under both Democratic and Republican administrations, our


institution never experienced this volume of unexplained delays or procedural breakdowns.


       34. Renewals were routine and predictable. This year, even long-standing, high-


performing programs are in limbo.


       35. Terminations were exceedingly rare and followed due process. The current


approach is without precedent in our experience.


Impact on Institutional Operations


       36. These delays make it impossible for UMB to forecast its budget and academic


programming.


       37. These delays force UMB to use bridge funding for salaries of multiple faculty

members, drawing from limited discretionary resources.


Effect on Public-Facing or State-Supported Programs


       38. Our institution operates multiple programs funded jointly by NIH and the State of


Maryland, including community health clinics and research addressing health disparities.




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        39. Grant terminations lead to diminished access to healthcare, including to individuals


at risk ofHIV and those from groups with documented disparities in health outcomes. For example,


one terminated grant examined the benefits of client-centered care coordination in uptake and


adherence to pre-exposure prophylaxis (PrEP) to prevent the spread ofHIV. PrEP use reduces the


risk of acquiring an HIV infection by 92%, but only about 19% of the targeted population used

PrEP in 2019. Interventions that increase PrEP adherence in key populations can save many lives.


Admissions, Training and Workforce Disruptions


       40. UMB uses information regarding NIH grant applications and award rates to inform


its admissions process, particularly at the graduate student level. M.ost doctoral students in the


biomedical sciences are supported (tuition and living stipend) through NIH grants, due to the


highly specialized and advanced nature of their education. Ph.D. students play a critical role in


research - not only for current research projects but also receive training to take on the most


pressing scientific questions of the future. A loss ofPh.D. training will lead to a loss in scientific


discoveries and will ultimately degrade human health.


       41. UMB has had to reduce its incoming class of graduate students due to uncertainty


over incoming grant funding because of the delays in reviewing and awarding grants by NIH. For


example, UMB's School of Pharmacy decreased its offers by 30%.


       42. Similar to private industries, a stable and predictable infrastructure for biomedical


research encourages long-term investments and commitments that enable major leaps forward in


our understanding of human health and well-being. Earning a Ph.D. in the biomedical sciences is


typically a 5- to 7-year commitment by the student and the university. Disruptions to this


infrastructure drive talented and promising individuals out of biomedical research, depleting


American competitiveness and economic growth.




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       43. NIH training and research education grants, including T32, R25, and F31


mechanisms, have been affected by review and award delays or changed deadlines. These training


grants are designed to provide resources to institutions so they can train individuals in certain


shortage areas (T32 grants), as well as support postbaccalaureate research education activities that


complement and/or enhance the training of a workforce to meet the nation's biomedical, behavioral


and clinical research needs (R25), and predoctoral dissertation research (F31 grants).


       44. For example, the R25 NOFO (PAR-22-220) was suddenly closed a day before the


deadline, which meant UMB could not submit its renewal application despite UMB receiving


funding related to this program since 2016.


       45. We have international postdocs whose visa status is now at risk due to pending NIH


awards that were expected to be renewed this spring.


       46. This instability is affecting the recruitment and retention of quality research


trainees. The inability to retain quality research trainees will have continuing effects on the


research capabilities of UMB, including by limiting the individuals qualified to conduct certain

research.


Concerns About FY25 Funds Being Obligate^

       47. We are increasingly concerned that NIH will not be able to process and obligate


FY25 funds by the end of the fiscal year in September.


       48. Several major proposals from our institution remain stalled at preliminary review


stages, with no indication that the required advisory reviews or notices of award will occur in time.


       49. Our principal investigators and research administration staff have received informal


feedback from NIH indicating that certain topic areas are being slowed due to "heightened


scrutiny" or "internal concerns."




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Irreparable Harm


        50. The delays have disrupted ongoing research. Funding gaps have forced researchers


to abandon projects, miss deadlines, or lose key personnel.


        51. Some of the studies for which UMB has suffered delays, including studies which


are in limbo having already received fundable scores and advisory council review, involve clinical


trials for life-saving medications or procedures. These delays harm lives of patients. For example,


one is a trial involving assisted living residents with Alzheimer's disease and related dementias.


Another relates to prescribing the best antidiabetic drug for each person (i.e. using genetics to


determine who will respond best to different classes of drugs).


        52. One terminated grant funded a study involving more than 1000 human subjects who


underwent diagnostic tests as part of the funded study. The human subjects consented to the study


based on the understanding that they would be provided with test results that could be important


to their health. The abrupt termination of the grant takes away federal funding for providing


subjects with those test results.


        53. Some of the studies for which UMB has received terminations involve use of


animal subjects, which would need to be euthanized due to loss of funding.


        54. Some of these studies had the potential to achieve significant breakthroughs which


would have advanced public health, and which will now not occur.


        55. Delays have also disrupted community services, student opportunities, and public


programs.


        56. In most cases, there is no way to recover the lost time, research continuity, or


training value once disrupted.




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       57. These terminated grants consisted of awards for which funding was to be


distributed by the government for specific "projects" or areas of research and were competitively


awarded based on the university's qualifications. UMB followed Federal processes as provided in


the Federal Grant and Cooperative Agreement Act; the Uniform Guidance (§ 200.204 Notices of


funding opportunities and Appendix I to Part 200—Full Text of Notice of Funding Opportunity);

and as further articulated by NIH specific guidance. The University, in good faith, commenced


work, with an approved budget in place, relying on the funding to be reimbursed by NIH in


accordance with award terms and conditions.


        58. Using alternative university funds to continue work solicited by an external entity


is neither possible given the nature of public fund accounting (aligning allowed uses of funds to


their funding sources) nor practical due to the extremely limited availability of cash flow given


recent state and federal reductions in support.


Conclusion


        59. The breakdown in NIH processes is affecting institutional operations, planning, and


public health partnerships. Terminations and delays with no explanation or remedy are


undermining confidence in the system. These harms are ongoing and, in many instances,


irreparable.


I declare under penalty of perjury that the foregoing is true and correct to the best of my knowledge.


Executed this 13th day of April, 2025, in Baltimore, Maryland.



                                                  Rn^^ ^L ^L j^<^^<
                                                  Dr. Bmce E. Jarrell, M.D., FACS'
                                                  President
                                                  University of Maryland, Baltimore




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      EXHIBIT 1
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March 11, 2025

Christine R. Toalepai
Authorized Organizational Oﬃcial
University of Maryland Baltimore
220 Arch Street, Ofc Level 2
Baltimore, MD 21201
Redacted



Dear Christine R. Toalepai:

Funding for Project Number 3R01MD019029-02S1 (supplement) is hereby terminated pursuant
to the 2024 National Institutes of Health (“NIH”) Grants Policy Statement,1 and 2 C.F.R.
§ 200.340(a)(2). This letter constitutes a notice of termination.2

       The 2024 Policy Statement applies to your project because NIH approved your grant on
September 25, 2024, and “obligations generally should be determined by reference to the law in
eﬀect when the grants were made.” 3

        The 2024 Policy Statement “includes the terms and conditions of NIH grants and
cooperative agreements and is incorporated by reference in all NIH grant and cooperative
agreement awards.” 4 According to the Policy Statement, “NIH may … terminate the grant in
whole or in part as outlined in 2 CFR Part 200.340.” 5 At the time your grant was issued, 2 C.F.R.
§ 200.340(a)(2) permitted termination “[b]y the Federal awarding agency or pass-through entity,
to the greatest extent authorized by law, if an award no longer effectuates the program goals or
agency priorities.”

        This award no longer effectuates agency priorities. Research programs based on gender
identity are often unscientific, have little identifiable return on investment, and do nothing to
enhance the health of many Americans. Many such studies ignore, rather than seriously examine,
biological realities. It is the policy of NIH not to prioritize these research programs. NIH is


1
  https://grants.nih.gov/grants/policy/nihgps/nihgps.pdf.
2
  2 C.F.R. § 200.341(a); 45 C.F.R. § 75.373
3
  Bennett v. New Jersey, 470 U.S. 632, 638 (1985).
4
  2024 Policy Statement at IIA-1.
5
  Id. at IIA-155.
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obligated to carefully steward grant awards to ensure taxpayer dollars are used in ways that benefit
the American people and improve their quality of life. Your project does not satisfy these criteria.

       Although “NIH generally will suspend (rather than immediately terminate) a grant and
allow the recipient an opportunity to take appropriate corrective action before NIH makes a
termination decision,” 6 no corrective action is possible here. The premise of Project Number
3R01MD019029-02S1 is incompatible with agency priorities, and no modification of the project
could align the project with agency priorities.

        Costs resulting from financial obligations incurred after termination are not allowable. 7
Nothing in this notice excuses either NIH or you from complying with the closeout obligations
imposed by 2 C.F.R. §§ 75.381-75.390. NIH will provide any information required by the Federal
Funding Accountability and Transparency Act or the Office of Management and Budget’s
regulations to USAspending.gov. 8
Administrative Appeal

         You may object and provide information and documentation challenging this termination. 9
NIH has established a first-level grant appeal procedure that must be exhausted before you may
file an appeal with the Departmental Appeals Board. 10
        You must submit a request for such review to Dr. Matt Memoli no later than 30 days after
the written notification of the determination is received, except that if you show good cause why
an extension of time should be granted, Dr. Memoli may grant an extension of time. 11

        The request for review must include a copy of the adverse determination, must identify the
issue(s) in dispute, and must contain a full statement of your position with respect to such issue(s)
and the pertinent facts and reasons in support of your position. In addition to the required written
statement, you shall provide copies of any documents supporting your claim. 12



Sincerely,



Michelle G. Bulls on behalf of Priscilla Grant

Director, Office of Policy for Extramural Research Administration, OER


6
  2024 Policy Statement at IIA-156.
7
  See 2 C.F.R. § 200.343 (2024).
8
  2 C.F.R. § 200.341(c); 45 C.F.R. § 75.373(c)
9
  See 45 C.F.R. § 75.374.
10
   See 42 C.F.R. Part 50, Subpart D.
11
   Id. § 50.406(a).
12
   Id. § 50.406(b).
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      EXHIBIT 2
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03/20/2025
Kenneth Fahnestock
UNIVERSITY OF MARYLAND BALTIMORE
Redacted



Dear Kenneth Fahnestock:
Effective with the date of this letter, funding for Project Number 5R01HL165686-03 is hereby
terminated pursuant to the Fiscal Year 2024 National Institutes of Health (“NIH”) Grants Policy
Statement,1 and 2 C.F.R. § 200.340(a)(2). This letter constitutes a notice of termination.2
The 2024 Policy Statement applies to your project because NIH approved your grant on
08/01/2024, and “obligations generally should be determined by reference to the law in effect
when the grants were made.”3
The 2024 Policy Statement “includes the terms and conditions of NIH grants and cooperative
agreements and is incorporated by reference in all NIH grant and cooperative agreement
awards.4” According to the Policy Statement, “NIH may … terminate the grant in whole or in
part as outlined in 2 CFR Part 200.340.5” At the time your grant was issued, 2 C.F.R. §
200.340(a)(2) permitted termination “[b]y the Federal awarding agency or pass-through entity, to
the greatest extent authorized by law, if an award no longer effectuates the program goals or
agency priorities.”
This award no longer effectuates agency priorities. Research programs based primarily on
artificial and non-scientific categories, including amorphous equity objectives, are antithetical to
the scientific inquiry, do nothing to expand our knowledge of living systems, provide low returns
on investment, and ultimately do not enhance health, lengthen life, or reduce illness. Worse, so-
called diversity, equity, and inclusion (“DEI”) studies are often used to support unlawful
discrimination on the basis of race and other protected characteristics, which harms the health of
Americans. Therefore, it is the policy of NIH not to prioritize such research programs. Although
“NIH generally will suspend (rather than immediately terminate) a grant and allow the recipient


1
    https://grants.nih.gov/grants/policy/nihgps/nihgps.pdf.
2
    2 C.F.R. § 200.341(a); 45 C.F.R. § 75.373
3
    Bennett v. New Jersey, 470 U.S. 632, 638 (1985).
4
  2024 Policy Statement at IIA-1.
5
  Id. at IIA-155.

                                                              1
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an opportunity to take appropriate corrective action before NIH makes a termination decision,”6
no corrective action is possible here. The premise of this award is incompatible with agency
priorities, and no modification of the project could align the project with agency priorities.
Costs resulting from financial obligations incurred after termination are not allowable.7 Nothing
in this notice excuses either NIH or you from complying with the closeout obligations imposed
by 2 C.F.R. §§ 75.381-75.390. NIH will provide any information required by the Federal
Funding Accountability and Transparency Act or the Office of Management and Budget’s
regulations to USAspending.gov.8
Administrative Appeal
You may object and provide information and documentation challenging this termination.9 NIH
has established a first-level grant appeal procedure that must be exhausted before you may file an
appeal with the Departmental Appeals Board.10
You must submit a request for such review to Dr. Matt Memoli no later than 30 days after the
written notification of the determination is received, except that if you show good cause why an
extension of time should be granted, Dr. Memoli may grant an extension of time.11
The request for review must include a copy of the adverse determination, must identify the
issue(s) in dispute, and must contain a full statement of your position with respect to such
issue(s) and the pertinent facts and reasons in support of your position. In addition to the required
written statement, you shall provide copies of any documents supporting your claim.12


Sincerely,




Michelle G. Bulls, on behalf of Anthony Agresti, Chief Grants Management Officer, National
Heart, Lung, and Blood Institute
Director, Office of Policy for Extramural Research Administration
Office of Extramural Research




6
  2024 Policy Statement at IIA-156.
7
  See 2 C.F.R. § 200.343 (2024).
8
  2 C.F.R. § 200.341(c); 45 C.F.R. § 75.373(c)
9
  See 45 C.F.R. § 75.374.
10
   See 42 C.F.R. Part 50, Subpart D
11
     11 Id. § 50.406(a)
12
     12 Id. § 50.406(b)



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      EXHIBIT 3
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3/21/2025
Gregory J Sorensen
University Of Maryland Baltimore
Redacted


Dear Gregory J Sorensen:
Effective with the date of this letter, funding for Project Number 5D43TW012274-03 is hereby
terminated pursuant to the Fiscal Year 2024 National Institutes of Health (“NIH”) Grants Policy
Statement,1 and 2 C.F.R. § 200.340(a)(2). This letter constitutes a notice of termination. 2
The 2024 Policy Statement applies to your project because NIH approved your grant on
7/1/2024, and “obligations generally should be determined by reference to the law in effect when
the grants were made.”3
The 2024 Policy Statement “includes the terms and conditions of NIH grants and cooperative
agreements and is incorporated by reference in all NIH grant and cooperative agreement
awards.4” According to the Policy Statement, “NIH may … terminate the grant in whole or in
part as outlined in 2 CFR Part 200.340.5” At the time your grant was issued, 2 C.F.R. §
200.340(a)(2) permitted termination “[b]y the Federal awarding agency or pass-through entity, to
the greatest extent authorized by law, if an award no longer effectuates the program goals or
agency priorities.”
This award no longer effectuates agency priorities. Research programs based primarily on
artificial and non-scientific categories, including amorphous equity objectives, are antithetical to
the scientific inquiry, do nothing to expand our knowledge of living systems, provide low returns
on investment, and ultimately do not enhance health, lengthen life, or reduce illness. Worse, so-
called diversity, equity, and inclusion (“DEI”) studies are often used to support unlawful
discrimination on the basis of race and other protected characteristics, which harms the health of
Americans. Therefore, it is the policy of NIH not to prioritize such research programs.



1
  h ps://grants.nih.gov/grants/policy/nihgps/nihgps.pdf.
2
  2 C.F.R. § 200.341(a); 45 C.F.R. § 75.373
3
  Benne v. New Jersey, 470 U.S. 632, 638 (1985).
4
  NIH Grants Policy Statement at IIA-1.
5
  Id. at IIA-155.

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Although “NIH generally will suspend (rather than immediately terminate) a grant and allow the
recipient an opportunity to take appropriate corrective action before NIH makes a termination
decision,”6 no corrective action is possible here. The premise of this award is incompatible with
agency priorities, and no modification of the project could align the project with agency
priorities.
Costs resulting from financial obligations incurred after termination are not allowable. 7 Nothing
in this notice excuses either NIH or you from complying with the closeout obligations imposed
by 2 C.F.R. §§ 75.381-75.390. NIH will provide any information required by the Federal
Funding Accountability and Transparency Act or the Office of Management and Budget’s
regulations to USAspending.gov.8
Administrative Appeal
You may object and provide information and documentation challenging this termination. 9 NIH
has established a first-level grant appeal procedure that must be exhausted before you may file an
appeal with the Departmental Appeals Board. 10
You must submit a request for such review to Dr. Matt Memoli no later than 30 days after the
written notification of the determination is received, except that if you show good cause why an
extension of time should be granted, Dr. Memoli may grant an extension of time. 11
The request for review must include a copy of the adverse determination, must identify the
issue(s) in dispute, and must contain a full statement of your position with respect to such
issue(s) and the pertinent facts and reasons in support of your position. In addition to the required
written statement, you shall provide copies of any documents supporting your claim. 12


Sincerely,




Michelle G. Bulls, on behalf of Bruce Butrum, Chief Grants Management Officer, FIC

6
  NIH Grants Policy Statement at IIA-156.
7
  See 2 C.F.R. § 200.343 (2024).
8
  2 C.F.R. § 200.341(c); 45 C.F.R. § 75.373(c)
9
  See 45 C.F.R. § 75.374.
10
   See 42 C.F.R. Part 50, Subpart D
11
   11 Id. § 50.406(a)
12
   12 Id. § 50.406(b)



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Director, Office of Policy for Extramural Research Administration
Office of Extramural Research




                                               3
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      EXHIBIT 4
                  Department
                Case         of Health and Human Document
                     1:25-cv-10814-BEM           Services 77-19                                      Filed 04/14/25            Page 28 of 76Notice of Award
                    National Institutes of Health                                                                                                 FAIN# D43TW012274
                    FOGARTY INTERNATIONAL CENTER                                                                                                    Federal Award Date
                                                                                                                                                           03/22/2025



Recipient Information                           Federal Award Information
1. Recipient Name
   UNIVERSITY OF MARYLAND, BALTIMORE
   220 ARCH ST OFC LEVEL2                       11. Award Number
   BALTIMORE, MD 21201                             3D43TW012274-03S1

2. Congressional District of Recipient          12. Unique Federal Award Identification Number (FAIN)
   07                                              D43TW012274

3. Payment System Identifier (ID)               13. Statutory Authority
   1526002036A1                                    42 USC 287b 42 CFR 63a

4. Employer Identification Number (EIN)         14. Federal Award Project Title
   526002036                                       INSIGHT Supplement June 2024

5. Data Universal Numbering System (DUNS)       15. Assistance Listing Number
   188435911                                       93.989

6. Recipient’s Unique Entity Identifier         16. Assistance Listing Program Title
   Z9CRZKD42ZT1                                    International Research and Research Training

7. Project Director or Principal Investigator   17. Award Action Type
   Manhattan E Charurat, PHD (Contact)             Supplement (REVISED)
   Professor
  Redacted                                      18. Is the Award R&D?
  Redacted                                         Yes

8. Authorized Official                                                Summary Federal Award Financial Information
   KENNETH E FAHNESTOCK                          19. Budget Period Start Date 07/02/2024 – End Date 03/21/2025
  Redacted                                       20. Total Amount of Federal Funds Obligated by this Action                                                                 $0
  Redacted                                                20 a. Direct Cost Amount                                                                                          $0
                                                          20 b. Indirect Cost Amount                                                                                        $0
                                                 21. Authorized Carryover
Federal Agency Information                       22. Offset
9. Awarding Agency Contact Information           23. Total Amount of Federal Funds Obligated this budget period                                                  $160,746
   SATABDI RAYCHOWDHURY                          24. Total Approved Cost Sharing or Matching, where applicable                                                              $0
   Grants Management Specialist                  25. Total Federal and Non-Federal Approved this Budget Period                                                   $160,746
   FOGARTY INTERNATIONAL CENTER                                        ---------------------------------------------------------------------------------------------------------
   satabdi.raychowdhury@nih.gov                  26. Project Period Start Date 07/02/2024 – End Date 03/21/2025
   301-496-9750                                  27. Total Amount of the Federal Award including Approved Cost                                                $3,563,052
10. Program Official Contact Information             Sharing or Matching this Project Period
   Flora N Katz
   Program                                      28. Authorized Treatment of Program Income
   FOGARTY INTERNATIONAL CENTER                    Additional Costs
   flora.katz@nih.gov
   301-402-9591                                 29. Grants Management Officer - Signature
                                                   BRUCE R BUTRUM
30. Remarks
    Acceptance of this award, including the "Terms and Conditions," is acknowledged by the recipient when funds are drawn down or
    otherwise requested from the grant payment system.




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                                                             Notice of Award
International Research Training Award
Department of Health and Human Services
National Institutes of Health

FOGARTY INTERNATIONAL CENTER

  SECTION I – AWARD DATA – 3D43TW012274-03S1 REVISED



  Principal Investigator(s):
  Manhattan E Charurat (contact), PHD
  ANNA M MANDALAKAS, MD
  Vishwajit Laxmikant Nimgaonkar, MD
  Janet M Turan, PHD

  Award e-mailed to: Redacted

  Dear Authorized Official:

  The National Institutes of Health hereby revises this award (see “Award Calculation” in Section I and “Terms
  and Conditions” in Section III) to UNIVERSITY OF MARYLAND BALTIMORE in support of the above
  referenced project. This award is pursuant to the authority of 42 USC 287b 42 CFR 63a and is subject to the
  requirements of this statute and regulation and of other referenced, incorporated or attached terms and
  conditions.

  Acceptance of this award, including the "Terms and Conditions," is acknowledged by the recipient when
  funds are drawn down or otherwise requested from the grant payment system.

  Each publication, press release, or other document about research supported by an NIH award must include
  an acknowledgment of NIH award support and a disclaimer such as “Research reported in this publication
  was supported by the Fogarty International Center of the National Institutes of Health under Award Number
  D43TW012274. The content is solely the responsibility of the authors and does not necessarily represent the
  official views of the National Institutes of Health.” Prior to issuing a press release concerning the outcome
  of this research, please notify the NIH awarding IC in advance to allow for coordination.

  Award recipients must promote objectivity in research by establishing standards that provide a reasonable
  expectation that the design, conduct and reporting of research funded under NIH awards will be free from
  bias resulting from an Investigator’s Financial Conflict of Interest (FCOI), in accordance with the 2011
  revised regulation at 42 CFR Part 50 Subpart F. The Institution shall submit all FCOI reports to the NIH
  through the eRA Commons FCOI Module. The regulation does not apply to Phase I Small Business
  Innovative Research (SBIR) and Small Business Technology Transfer (STTR) awards. Consult the NIH
  website http://grants.nih.gov/grants/policy/coi/ for a link to the regulation and additional important
  information.

  If you have any questions about this award, please direct questions to the Federal Agency contacts.

  Sincerely yours,

  BRUCE R BUTRUM
  Grants Management Officer
  FOGARTY INTERNATIONAL CENTER

  Additional information follows




  Cumulative Award Calculations for this Budget Period (U.S. Dollars)
  Training related Expenses                                                                                      $31,118

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 Participant Other                                                                                              $124,470

 Federal Direct Costs                                                                                           $155,588
 Federal F&A Costs                                                                                                $5,158
 Approved Budget                                                                                                $160,746
 Total Amount of Federal Funds Authorized (Federal Share)                                                       $160,746
 TOTAL FEDERAL AWARD AMOUNT                                                                                     $160,746

 AMOUNT OF THIS ACTION (FEDERAL SHARE)                                                                               $0


       SUMMARY TOTAL FEDERAL AWARD AMOUNT YEAR ( 3 ) (for this Document Number)
AWARD NUMBER                                            TOTAL FEDERAL AWARD AMOUNT
3D43TW012274-03S1                                                               $160,746
5D43TW012274-03                                                               $1,036,244
3D43TW012274-03S2                                                               $100,000
3D43TW012274-03S3                                                                $75,000
TOTAL                                                                        $1,371,990

                     SUMMARY TOTALS FOR ALL YEARS (for this Document Number)
   YR                    THIS AWARD                            CUMULATIVE TOTALS
    3                                   $160,746                                 $1,371,990

 Fiscal Information:
 Payment System Identifier:          1526002036A1
 Document Number:                    DTW012274A
 PMS Account Type:                   P (Subaccount)
 Fiscal Year:                        2024

 IC       CAN                                                                  2024
 OD       8027143                                                              $80,373
 OD       8055783                                                              $80,373



 NIH Administrative Data:
 PCC: GLBLFELO / OC: 41012 / Released: 03/21/2025
 Award Processed: 03/22/2025 12:12:03 AM

 SECTION II – PAYMENT/HOTLINE INFORMATION – 3D43TW012274-03S1 REVISED

 For payment and HHS Office of Inspector General Hotline information, see the NIH Home Page at
 http://grants.nih.gov/grants/policy/awardconditions.htm

 SECTION III – STANDARD TERMS AND CONDITIONS – 3D43TW012274-03S1 REVISED

 This award is based on the application submitted to, and as approved by, NIH on the above-titled project and
 is subject to the terms and conditions incorporated either directly or by reference in the following:

      a. The grant program legislation and program regulation cited in this Notice of Award.
      b. Conditions on activities and expenditure of funds in other statutory requirements, such as
         those included in appropriations acts.
      c. 45 CFR Part 75.
      d. National Policy Requirements and all other requirements described in the NIH Grants Policy
         Statement, including addenda in effect as of the beginning date of the budget period.
      e. Federal Award Performance Goals: As required by the periodic report in the RPPR or in the final
         progress report when applicable.
      f. This award notice, INCLUDING THE TERMS AND CONDITIONS CITED BELOW.

 (See NIH Home Page at http://grants.nih.gov/grants/policy/awardconditions.htmfor certain
 references cited above.)

 Research and Development (R&D): All awards issued by the National Institutes of Health (NIH) meet the

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definition of “Research and Development” at 45 CFR Part§ 75.2. As such, auditees should identify NIH
awards as part of the R&D cluster on the Schedule of Expenditures of Federal Awards (SEFA). The auditor
should test NIH awards for compliance as instructed in Part V, Clusters of Programs. NIH recognizes that
some awards may have another classification for purposes of indirect costs. The auditor is not required to
report the disconnect (i.e., the award is classified as R&D for Federal Audit Requirement purposes but non-
research for indirect cost rate purposes), unless the auditee is charging indirect costs at a rate other than
the rate(s) specified in the award document(s).

An unobligated balance may be carried over into the next budget period without Grants Management Officer
prior approval.

This grant is excluded from Streamlined Noncompeting Award Procedures (SNAP).

This award is subject to the requirements of 2 CFR Part 25 for institutions to obtain a unique entity identifier
(UEI) and maintain an active registration in the System for Award Management (SAM). Should a
consortium/subaward be issued under this award, a UEI requirement must be included. See
http://grants.nih.gov/grants/policy/awardconditions.htm for the full NIH award term implementing this
requirement and other additional information.

This award has been assigned the Federal Award Identification Number (FAIN) D43TW012274. Recipients
must document the assigned FAIN on each consortium/subaward issued under this award.

Based on the project period start date of this project, this award is likely subject to the Transparency Act
subaward and executive compensation reporting requirement of 2 CFR Part 170. There are conditions that
may exclude this award; see http://grants.nih.gov/grants/policy/awardconditions.htm for additional award
applicability information.

In accordance with P.L. 110-161, compliance with the NIH Public Access Policy is now mandatory. For more
information, see NOT-OD-08-033 and the Public Access website: http://publicaccess.nih.gov/.


This award represents the final year of the competitive segment for this grant. See the NIH Grants Policy
Statement Section 8.6 Closeout for complete closeout requirements at:
http://grants.nih.gov/grants/policy/policy.htm#gps.

A final expenditure Federal Financial Report (FFR) (SF 425) must be submitted through the Payment
Management System (PMS) within 120 days of the period of performance end date; see the NIH Grants
Policy Statement Section 8.6.1 Financial Reports, http://grants.nih.gov/grants/policy/policy.htm#gps, for
additional information on this submission requirement. The final FFR must indicate the exact balance of
unobligated funds and may not reflect any unliquidated obligations. There must be no discrepancies
between the final FFR expenditure data and the real-time cash drawdown data in PMS. NIH will close the
awards using the last recorded cash drawdown level in PMS for awards that do not require a final FFR on
expenditures. It is important to note that for financial closeout, if a grantee fails to submit a required final
expenditure FFR, NIH will close the grant using the last recorded cash drawdown level.

A Final Invention Statement and Certification form (HHS 568), (not applicable to training, construction,
conference or cancer education grants) must be submitted within 120 days of the expiration date. The HHS
568 form may be downloaded at: http://grants.nih.gov/grants/forms.htm. This paragraph does not apply to
Training grants, Fellowships, and certain other programs—i.e., activity codes C06, D42, D43, D71, DP7, G07,
G08, G11, K12, K16, K30, P09, P40, P41, P51, R13, R25, R28, R30, R90, RL5, RL9, S10, S14, S15, U13, U14, U41,
U42, U45, UC6, UC7, UR2, X01, X02.

Unless an application for competitive renewal is submitted, a Final Research Performance Progress Report
(Final RPPR) must also be submitted within 120 days of the period of performance end date. If a competitive
renewal application is submitted prior to that date, then an Interim RPPR must be submitted by that date as
well. Instructions for preparing an Interim or Final RPPR are at:
https://grants.nih.gov/grants/rppr/rppr_instruction_guide.pdf. Any other specific requirements set forth in
the terms and conditions of the award must also be addressed in the Interim or Final RPPR. Note that data
reported within Section I of the Interim and Final RPPR forms will be made public and should be written for a
lay person audience.

NIH requires electronic submission of the final invention statement through the Closeout feature in the
Commons.


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 NOTE: If this is the final year of a competitive segment due to the transfer of the grant to another institution,
 then a Final RPPR is not required. However, a final expenditure FFR is required and must be submitted
 electronically as noted above. If not already submitted, the Final Invention Statement is required and should
 be sent directly to the assigned Grants Management Specialist.

 This award is funded by the following list of institutes. Any papers published under the auspices of this
 award must cite the funding support of all institutes.
 Office Of The Director, National Institutes Of Health (OD)


 Recipients must administer the project in compliance with federal civil rights laws that prohibit
 discrimination on the basis of race, color, national origin, disability, age, and comply with applicable
 conscience protections. The recipient will comply with applicable laws that prohibit discrimination on the
 basis of sex, which includes discrimination on the basis of gender identity, sexual orientation, and
 pregnancy. Compliance with these laws requires taking reasonable steps to provide meaningful access to
 persons with limited English proficiency and providing programs that are accessible to and usable by
 persons with disabilities. The HHS Office for Civil Rights provides guidance on complying with civil rights
 laws enforced by HHS. See https://www.hhs.gov/civil-rights/for-providers/provider-obligations/index.html
 and https://www.hhs.gov/.

     ·    Recipients of FFA must ensure that their programs are accessible to persons with limited English
          proficiency. For guidance on meeting the legal obligation to take reasonable steps to ensure
          meaningful access to programs or activities by limited English proficient individuals,
          see https://www.hhs.gov/civil-rights/for-individuals/special-topics/limited-english-proficiency/fact-
          sheet-guidance/index.html and https://www.lep.gov.
     ·    For information on an institution’s specific legal obligations for serving qualified individuals with
          disabilities, including providing program access, reasonable modifications, and to provide effective
          communication, see http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html.
     ·    HHS funded health and education programs must be administered in an environment free of sexual
          harassment; see https://www.hhs.gov/civil-rights/for-individuals/sex-discrimination/index.html.
          For information about NIH's commitment to supporting a safe and respectful work environment,
          who to contact with questions or concerns, and what NIH's expectations are for institutions and the
          individuals supported on NIH-funded awards, please see
          https://grants.nih.gov/grants/policy/harassment.htm.
     ·    For guidance on administering programs in compliance with applicable federal religious
          nondiscrimination laws and applicable federal conscience protection and associated anti-
          discrimination laws, see https://www.hhs.gov/conscience/conscience-protections/index.html and
          https://www.hhs.gov/conscience/religious-freedom/index.html.

 In accordance with the regulatory requirements provided at 45 CFR 75.113 and Appendix XII to 45 CFR Part
 75, recipients that have currently active Federal grants, cooperative agreements, and procurement contracts
 with cumulative total value greater than $10,000,000 must report and maintain information in the System for
 Award Management (SAM) about civil, criminal, and administrative proceedings in connection with the
 award or performance of a Federal award that reached final disposition within the most recent five-year
 period. The recipient must also make semiannual disclosures regarding such proceedings. Proceedings
 information will be made publicly available in the designated integrity and performance system (currently
 the Federal Awardee Performance and Integrity Information System (FAPIIS)). Full reporting requirements
 and procedures are found in Appendix XII to 45 CFR Part 75. This term does not apply to NIH fellowships.

 Treatment of Program Income:
 Additional Costs

 SECTION IV – TW SPECIFIC AWARD CONDITIONS – 3D43TW012274-03S1 REVISED


Clinical Trial Indicator: No
This award does not support any NIH-defined Clinical Trials. See the NIH Grants Policy Statement Section 1.2
for NIH definition of Clinical Trial.

 Grant Termination
 It is the policy of NIH not to prioritize Research programs based primarily on artificial and non-scientific
 categories, including amorphous equity objectives, are antithetical to the scientific inquiry, do nothing to
 expand our knowledge of living systems, provide low returns on investment, and ultimately do not enhance
 health, lengthen life, or reduce illness. Worse, so-called diversity, equity, and inclusion (“DEI”) studies are
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often used to support unlawful discrimination on the basis of race and other protected characteristics,
which harms the health of Americans. Therefore, it is the policy of NIH not to prioritize such research
programs. Therefore, this project is terminated. UNIVERSITY OF MARYLAND BALTIMORE may request funds
to support patient safety and orderly closeout of the project. Funds used to support any other research
activities will be disallowed and recovered. Please be advised that your organization, as part of the orderly
closeout process will need to submit the necessary closeout documents (i.e., Final Research Performance
Progress Report, Final Invention Statement, and the Final Federal Financial Report (FFR), as applicable)
within 120 days of the end of this grant.

NIH is taking this enforcement action in accordance with 2 C.F.R. § 200.340 as implemented in NIH GPS
Section 8.5.2. This revised award represents the final decision of the NIH. It shall be the final decision of the
Department of Health and Human Services (HHS) unless within 30 days after receiving this decision you
mail or email a written notice of appeal to Dr. Matthew Memoli. Please include a copy of this decision, your
appeal justification, total amount in dispute, and any material or documentation that will support your
position. Finally, the appeal must be signed by the institutional official authorized to sign award applications
and must be dated no later than 30 days after the date of this notice.

This revision is made per the letter dated March 21, 2025 and supersedes the Notice of Award, (NoA)
issued: 08/27/2024
****************************************************************************************************
***
REVISED SUPPLEMENT TERM
This supplement provides a total award amount of $80,373 (ORWH) co-funding
and a total award amount of $80,373 (OAR) co-funding.
This supplement provides $160,746 (total cost) of co-funding from The Office of
Research on Women's Health (ORWH) in support of one trainees (Serah
Gitome $80,373) working in Kenya and The Office of AIDS Research (OAR) in support
of one trainees (Dr.Samuel Mwaniki $80,373) working at Kenya. Any change in the use
of these funds requires FIC prior approval.

SUPPLEMENT PROGRESS REPORT
The progress report for the parent award must include separate progress update(s) for each supplement
(including this one).

ACKNOWLEDGEMENT OF FUNDING
Each publication, press release, or other document about research supported by an NIH
award must include acknowledgment of FIC and ORWH, OAR and NIH award support
with the following or comparable footnote and disclaimer:
Research reported in this publication was supported by the Fogarty International Center
and The Office of Research on Women's Health (ORWH) and The Office of AIDS
Research (OAR) of the National Institutes of Health. The content is solely the
responsibility of the authors and does not necessarily represent the official views of the
National Institutes of Health.
Prior to issuing a press release concerning the outcome of this research, please notify the
NIH awarding IC in advance to allow for coordination.
This publication requirement applies not only to the primary grantee, but also to any
subcontractors and /or trainees involved with the project.
For additional information, please visit http://www.nih.gov/about/publicaccess/.

HUMAN SUBJECT AND ANIMAL RESEARCH INFORMATION FOR TRAINING GRANTS – DELAYED ONSET
FIC funded research must have the appropriate required NIH and HHS assurances before any research or
research training involving human subjects begins. These assurances apply to all research grants, any

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research supported by training grants (including re-entry support for foreign scientists), and research
supported under a cooperative agreement. All human subjects research projects must have had a scientific
review either by a peer review panel or by another independent review mechanism. Activity in which human
subjects are involved may be undertaken if the institution has an active FWA assurance and if the project
has been reviewed and approved by the appropriate Institutional Review Board (IRB).

Grant recipients must provide human subjects and IRB approval information in Section G.1 “Special NOA
terms and FOA reporting requirements” of the RPPR for each trainee/scholar supported by the grant award
during the reporting period. Additional information on this requirement can be found in the FIC Progress
Report Supplemental Guidance on the FIC webpage: http://www.fic.nih.gov/Grants/Pages/progress-
reports.aspx.

FOREIGN TRAVEL
U.S. Flag carriers must be used for departure from or entry into the U.S. and for other portions of the trip
where available. Please see the link for questions regarding Foreign Travel.
https://www.fic.nih.gov/Grants/Pages/Foreign-Travel.aspx


UNIFORM GRANT GUIDANCE AND REVISED NIH GRANTS POLICY STATEMENT
Per Notice Number NOT-OD-15-046, the Department of Health and Human Services published an interim rule
adapting OMB’s final Uniform Grant Guidance in 2 CFR part 200 with certain amendments, based on existing
HHS regulations, to supplement the guidance as needed for the Department effective December 26,
2014. The current revised NIH Grants Policy Statement is applicable to all NIH grants and cooperative
agreements.
Information regarding the NIH Grants Policy Statement can be found
at: https://grants.nih.gov/policy/index.htm
Highlighted below are some select items of costs of particular note to FIC grant recipients:

       · F&A for Foreign and International Organizations: NIH and FIC continue to provide F&A costs under
         grants to foreign and international organizations will be funded at a rate of 8 percent of modified
         total direct costs, exclusive of equipment, tuition and related fees, and subawards in excess of
         $25,000. These funds are paid to support the costs of compliance with federal requirements. This
         applies to direct foreign awards and foreign subawards.
       · F&A for Career/Fellowship/Training Awards: NIH and FIC continue to provide F&A costs under
         research training, some education grants, and Career (K) awards will be funded at a rate of 8
         percent of modified total direct costs, exclusive of tuition and fees, health insurance (when
         awarded as part of tuition and fees), equipment, and consortiums in excess of $25,000, consistent
         with existing policy.
       · Value Added Tax: Foreign taxes charged for the purchase of goods or services that a non-Federal
         entity is legally required to pay in country is an allowable expense under Federal awards. However,
         for many countries an exemption of this tax for research exists. Consequently, requesting this cost
         should be unallowable for research grants involving such countries as a performance site.
       · Visa Costs: Visa costs may be allowable when identified in specific FOAs or when within the scope
         of an approved research project. Generally, allowable direct cost as part of recruiting costs on an
         NIH grant, as long as the institution has an employee/employer relationship with the individual.

ALL OTHER TERMS AND CONDITIONS OF THIS PROGRAM AS NOTED IN THE FUNDING ANNOUNCEMENT,
THE PARENT AWARD TERMS, AND THE NIH GRANTS POLICY STATEMENT ARE HEREBY INCORPORATED
INTO THE TERMS OF THIS SUPPLEMENT.




SPREADSHEET SUMMARY
AWARD NUMBER: 3D43TW012274-03S1 REVISED

INSTITUTION: UNIVERSITY OF MARYLAND BALTIMORE


Budget                                                       Year 3
Training related Expenses                                    $31,118
Participant Other                                            $124,470
TOTAL FEDERAL DC                                             $155,588
TOTAL FEDERAL F&A                                            $5,158

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TOTAL COST                                                     $160,746


Facilities and Administrative Costs                            Year 3
F&A Cost Rate 1                                                8%
F&A Cost Base 1                                                $64,475
F&A Costs 1                                                    $5,158




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      EXHIBIT 5
                  Department
                Case         of Health and Human Document
                     1:25-cv-10814-BEM           Services 77-19                                      Filed 04/14/25            Page 37 of 76Notice of Award
                    National Institutes of Health                                                                                                 FAIN# D43TW012274
                    FOGARTY INTERNATIONAL CENTER                                                                                                    Federal Award Date
                                                                                                                                                           03/23/2025



Recipient Information                           Federal Award Information
1. Recipient Name
   UNIVERSITY OF MARYLAND, BALTIMORE
   220 ARCH ST OFC LEVEL2                       11. Award Number
   BALTIMORE, MD 21201                             3D43TW012274-03S2

2. Congressional District of Recipient          12. Unique Federal Award Identification Number (FAIN)
   07                                              D43TW012274

3. Payment System Identifier (ID)               13. Statutory Authority
   1526002036A1                                    42 USC 287b 42 CFR 63a

4. Employer Identification Number (EIN)         14. Federal Award Project Title
   526002036                                       INSIGHT Supplement (ODP) July 2024

5. Data Universal Numbering System (DUNS)       15. Assistance Listing Number
   188435911                                       93.989

6. Recipient’s Unique Entity Identifier         16. Assistance Listing Program Title
   Z9CRZKD42ZT1                                    International Research and Research Training

7. Project Director or Principal Investigator   17. Award Action Type
   Manhattan E Charurat, PHD (Contact)             Supplement (REVISED)
   Professor
  Redacted                                      18. Is the Award R&D?
  Redacted                                         Yes

8. Authorized Official                                                Summary Federal Award Financial Information
   KENNETH E FAHNESTOCK                          19. Budget Period Start Date 08/15/2024 – End Date 03/21/2025
  Redacted                                       20. Total Amount of Federal Funds Obligated by this Action                                                                 $0
  Redacted                                                20 a. Direct Cost Amount                                                                                          $0
                                                          20 b. Indirect Cost Amount                                                                                        $0
                                                 21. Authorized Carryover
Federal Agency Information                       22. Offset
9. Awarding Agency Contact Information           23. Total Amount of Federal Funds Obligated this budget period                                                  $100,000
   SATABDI RAYCHOWDHURY                          24. Total Approved Cost Sharing or Matching, where applicable                                                              $0
   Grants Management Specialist                  25. Total Federal and Non-Federal Approved this Budget Period                                                   $100,000
   FOGARTY INTERNATIONAL CENTER                                        ---------------------------------------------------------------------------------------------------------
   satabdi.raychowdhury@nih.gov                  26. Project Period Start Date 08/15/2024 – End Date 03/21/2025
   301-496-9750                                  27. Total Amount of the Federal Award including Approved Cost                                                $3,563,052
10. Program Official Contact Information             Sharing or Matching this Project Period
   Flora N Katz
   Program                                      28. Authorized Treatment of Program Income
   FOGARTY INTERNATIONAL CENTER                    Additional Costs
   flora.katz@nih.gov
   301-402-9591                                 29. Grants Management Officer - Signature
                                                   BRUCE R BUTRUM
30. Remarks
    Acceptance of this award, including the "Terms and Conditions," is acknowledged by the recipient when funds are drawn down or
    otherwise requested from the grant payment system.




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                                                             Notice of Award
International Research Training Award
Department of Health and Human Services
National Institutes of Health

FOGARTY INTERNATIONAL CENTER

  SECTION I – AWARD DATA – 3D43TW012274-03S2 REVISED



  Principal Investigator(s):
  Manhattan E Charurat (contact), PHD
  ANNA M MANDALAKAS, MD
  Vishwajit Laxmikant Nimgaonkar, MD
  Janet M Turan, PHD

  Award e-mailed to: Redacted

  Dear Authorized Official:

  The National Institutes of Health hereby revises this award (see “Award Calculation” in Section I and “Terms
  and Conditions” in Section III) to UNIVERSITY OF MARYLAND BALTIMORE in support of the above
  referenced project. This award is pursuant to the authority of 42 USC 287b 42 CFR 63a and is subject to the
  requirements of this statute and regulation and of other referenced, incorporated or attached terms and
  conditions.

  Acceptance of this award, including the "Terms and Conditions," is acknowledged by the recipient when
  funds are drawn down or otherwise requested from the grant payment system.

  Each publication, press release, or other document about research supported by an NIH award must include
  an acknowledgment of NIH award support and a disclaimer such as “Research reported in this publication
  was supported by the Fogarty International Center of the National Institutes of Health under Award Number
  D43TW012274. The content is solely the responsibility of the authors and does not necessarily represent the
  official views of the National Institutes of Health.” Prior to issuing a press release concerning the outcome
  of this research, please notify the NIH awarding IC in advance to allow for coordination.

  Award recipients must promote objectivity in research by establishing standards that provide a reasonable
  expectation that the design, conduct and reporting of research funded under NIH awards will be free from
  bias resulting from an Investigator’s Financial Conflict of Interest (FCOI), in accordance with the 2011
  revised regulation at 42 CFR Part 50 Subpart F. The Institution shall submit all FCOI reports to the NIH
  through the eRA Commons FCOI Module. The regulation does not apply to Phase I Small Business
  Innovative Research (SBIR) and Small Business Technology Transfer (STTR) awards. Consult the NIH
  website http://grants.nih.gov/grants/policy/coi/ for a link to the regulation and additional important
  information.

  If you have any questions about this award, please direct questions to the Federal Agency contacts.

  Sincerely yours,

  BRUCE R BUTRUM
  Grants Management Officer
  FOGARTY INTERNATIONAL CENTER

  Additional information follows




  Cumulative Award Calculations for this Budget Period (U.S. Dollars)
  Other                                                                                                          $37,037

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 Stipends                                                                                                        $60,000

 Federal Direct Costs                                                                                            $97,037
 Federal F&A Costs                                                                                                $2,963
 Approved Budget                                                                                                $100,000
 Total Amount of Federal Funds Authorized (Federal Share)                                                       $100,000
 TOTAL FEDERAL AWARD AMOUNT                                                                                     $100,000

 AMOUNT OF THIS ACTION (FEDERAL SHARE)                                                                               $0


       SUMMARY TOTAL FEDERAL AWARD AMOUNT YEAR ( 3 ) (for this Document Number)
AWARD NUMBER                                            TOTAL FEDERAL AWARD AMOUNT
3D43TW012274-03S2                                                               $100,000
5D43TW012274-03                                                               $1,036,244
3D43TW012274-03S1                                                               $160,746
3D43TW012274-03S3                                                                $75,000
TOTAL                                                                        $1,371,990

                     SUMMARY TOTALS FOR ALL YEARS (for this Document Number)
   YR                    THIS AWARD                            CUMULATIVE TOTALS
    3                                   $100,000                                 $1,371,990

 Fiscal Information:
 Payment System Identifier:          1526002036A1
 Document Number:                    DTW012274A
 PMS Account Type:                   P (Subaccount)
 Fiscal Year:                        2024

 IC       CAN                                                                  2024
 OD       8010093                                                              $100,000



 NIH Administrative Data:
 PCC: GLBLFELO / OC: 41012 / Released: 03/21/2025
 Award Processed: 03/23/2025 12:00:39 AM

 SECTION II – PAYMENT/HOTLINE INFORMATION – 3D43TW012274-03S2 REVISED

 For payment and HHS Office of Inspector General Hotline information, see the NIH Home Page at
 http://grants.nih.gov/grants/policy/awardconditions.htm

 SECTION III – STANDARD TERMS AND CONDITIONS – 3D43TW012274-03S2 REVISED

 This award is based on the application submitted to, and as approved by, NIH on the above-titled project and
 is subject to the terms and conditions incorporated either directly or by reference in the following:

      a. The grant program legislation and program regulation cited in this Notice of Award.
      b. Conditions on activities and expenditure of funds in other statutory requirements, such as
         those included in appropriations acts.
      c. 45 CFR Part 75.
      d. National Policy Requirements and all other requirements described in the NIH Grants Policy
         Statement, including addenda in effect as of the beginning date of the budget period.
      e. Federal Award Performance Goals: As required by the periodic report in the RPPR or in the final
         progress report when applicable.
      f. This award notice, INCLUDING THE TERMS AND CONDITIONS CITED BELOW.

 (See NIH Home Page at http://grants.nih.gov/grants/policy/awardconditions.htmfor certain
 references cited above.)

 Research and Development (R&D): All awards issued by the National Institutes of Health (NIH) meet the
 definition of “Research and Development” at 45 CFR Part§ 75.2. As such, auditees should identify NIH

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awards as part of the R&D cluster on the Schedule of Expenditures of Federal Awards (SEFA). The auditor
should test NIH awards for compliance as instructed in Part V, Clusters of Programs. NIH recognizes that
some awards may have another classification for purposes of indirect costs. The auditor is not required to
report the disconnect (i.e., the award is classified as R&D for Federal Audit Requirement purposes but non-
research for indirect cost rate purposes), unless the auditee is charging indirect costs at a rate other than
the rate(s) specified in the award document(s).

An unobligated balance may be carried over into the next budget period without Grants Management Officer
prior approval.

This grant is excluded from Streamlined Noncompeting Award Procedures (SNAP).

This award is subject to the requirements of 2 CFR Part 25 for institutions to obtain a unique entity identifier
(UEI) and maintain an active registration in the System for Award Management (SAM). Should a
consortium/subaward be issued under this award, a UEI requirement must be included. See
http://grants.nih.gov/grants/policy/awardconditions.htm for the full NIH award term implementing this
requirement and other additional information.

This award has been assigned the Federal Award Identification Number (FAIN) D43TW012274. Recipients
must document the assigned FAIN on each consortium/subaward issued under this award.

Based on the project period start date of this project, this award is likely subject to the Transparency Act
subaward and executive compensation reporting requirement of 2 CFR Part 170. There are conditions that
may exclude this award; see http://grants.nih.gov/grants/policy/awardconditions.htm for additional award
applicability information.

In accordance with P.L. 110-161, compliance with the NIH Public Access Policy is now mandatory. For more
information, see NOT-OD-08-033 and the Public Access website: http://publicaccess.nih.gov/.


This award represents the final year of the competitive segment for this grant. See the NIH Grants Policy
Statement Section 8.6 Closeout for complete closeout requirements at:
http://grants.nih.gov/grants/policy/policy.htm#gps.

A final expenditure Federal Financial Report (FFR) (SF 425) must be submitted through the Payment
Management System (PMS) within 120 days of the period of performance end date; see the NIH Grants
Policy Statement Section 8.6.1 Financial Reports, http://grants.nih.gov/grants/policy/policy.htm#gps, for
additional information on this submission requirement. The final FFR must indicate the exact balance of
unobligated funds and may not reflect any unliquidated obligations. There must be no discrepancies
between the final FFR expenditure data and the real-time cash drawdown data in PMS. NIH will close the
awards using the last recorded cash drawdown level in PMS for awards that do not require a final FFR on
expenditures. It is important to note that for financial closeout, if a grantee fails to submit a required final
expenditure FFR, NIH will close the grant using the last recorded cash drawdown level.

A Final Invention Statement and Certification form (HHS 568), (not applicable to training, construction,
conference or cancer education grants) must be submitted within 120 days of the expiration date. The HHS
568 form may be downloaded at: http://grants.nih.gov/grants/forms.htm. This paragraph does not apply to
Training grants, Fellowships, and certain other programs—i.e., activity codes C06, D42, D43, D71, DP7, G07,
G08, G11, K12, K16, K30, P09, P40, P41, P51, R13, R25, R28, R30, R90, RL5, RL9, S10, S14, S15, U13, U14, U41,
U42, U45, UC6, UC7, UR2, X01, X02.

Unless an application for competitive renewal is submitted, a Final Research Performance Progress Report
(Final RPPR) must also be submitted within 120 days of the period of performance end date. If a competitive
renewal application is submitted prior to that date, then an Interim RPPR must be submitted by that date as
well. Instructions for preparing an Interim or Final RPPR are at:
https://grants.nih.gov/grants/rppr/rppr_instruction_guide.pdf. Any other specific requirements set forth in
the terms and conditions of the award must also be addressed in the Interim or Final RPPR. Note that data
reported within Section I of the Interim and Final RPPR forms will be made public and should be written for a
lay person audience.

NIH requires electronic submission of the final invention statement through the Closeout feature in the
Commons.

NOTE: If this is the final year of a competitive segment due to the transfer of the grant to another institution,
then a Final RPPR is not required. However, a final expenditure FFR is required and must be submitted
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 electronically as noted above. If not already submitted, the Final Invention Statement is required and should
 be sent directly to the assigned Grants Management Specialist.

 This award is funded by the following list of institutes. Any papers published under the auspices of this
 award must cite the funding support of all institutes.
 Office Of The Director, National Institutes Of Health (OD)


 Recipients must administer the project in compliance with federal civil rights laws that prohibit
 discrimination on the basis of race, color, national origin, disability, age, and comply with applicable
 conscience protections. The recipient will comply with applicable laws that prohibit discrimination on the
 basis of sex, which includes discrimination on the basis of gender identity, sexual orientation, and
 pregnancy. Compliance with these laws requires taking reasonable steps to provide meaningful access to
 persons with limited English proficiency and providing programs that are accessible to and usable by
 persons with disabilities. The HHS Office for Civil Rights provides guidance on complying with civil rights
 laws enforced by HHS. See https://www.hhs.gov/civil-rights/for-providers/provider-obligations/index.html
 and https://www.hhs.gov/.

     ·    Recipients of FFA must ensure that their programs are accessible to persons with limited English
          proficiency. For guidance on meeting the legal obligation to take reasonable steps to ensure
          meaningful access to programs or activities by limited English proficient individuals,
          see https://www.hhs.gov/civil-rights/for-individuals/special-topics/limited-english-proficiency/fact-
          sheet-guidance/index.html and https://www.lep.gov.
     ·    For information on an institution’s specific legal obligations for serving qualified individuals with
          disabilities, including providing program access, reasonable modifications, and to provide effective
          communication, see http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html.
     ·    HHS funded health and education programs must be administered in an environment free of sexual
          harassment; see https://www.hhs.gov/civil-rights/for-individuals/sex-discrimination/index.html.
          For information about NIH's commitment to supporting a safe and respectful work environment,
          who to contact with questions or concerns, and what NIH's expectations are for institutions and the
          individuals supported on NIH-funded awards, please see
          https://grants.nih.gov/grants/policy/harassment.htm.
     ·    For guidance on administering programs in compliance with applicable federal religious
          nondiscrimination laws and applicable federal conscience protection and associated anti-
          discrimination laws, see https://www.hhs.gov/conscience/conscience-protections/index.html and
          https://www.hhs.gov/conscience/religious-freedom/index.html.

 In accordance with the regulatory requirements provided at 45 CFR 75.113 and Appendix XII to 45 CFR Part
 75, recipients that have currently active Federal grants, cooperative agreements, and procurement contracts
 with cumulative total value greater than $10,000,000 must report and maintain information in the System for
 Award Management (SAM) about civil, criminal, and administrative proceedings in connection with the
 award or performance of a Federal award that reached final disposition within the most recent five-year
 period. The recipient must also make semiannual disclosures regarding such proceedings. Proceedings
 information will be made publicly available in the designated integrity and performance system (currently
 the Federal Awardee Performance and Integrity Information System (FAPIIS)). Full reporting requirements
 and procedures are found in Appendix XII to 45 CFR Part 75. This term does not apply to NIH fellowships.

 Treatment of Program Income:
 Additional Costs

 SECTION IV – TW SPECIFIC AWARD CONDITIONS – 3D43TW012274-03S2 REVISED


Clinical Trial Indicator: No
This award does not support any NIH-defined Clinical Trials. See the NIH Grants Policy Statement Section 1.2
for NIH definition of Clinical Trial.

 Grant Termination
 It is the policy of NIH not to prioritize Research programs based primarily on artificial and non-scientific
 categories, including amorphous equity objectives, are antithetical to the scientific inquiry, do nothing to
 expand our knowledge of living systems, provide low returns on investment, and ultimately do not enhance
 health, lengthen life, or reduce illness. Worse, so-called diversity, equity, and inclusion (“DEI”) studies are
 often used to support unlawful discrimination on the basis of race and other protected characteristics,
 which harms the health of Americans. Therefore, it is the policy of NIH not to prioritize such research
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programs. Therefore, this project is terminated. UNIVERSITY OF MARYLAND BALTIMORE may request funds
to support patient safety and orderly closeout of the project. Funds used to support any other research
activities will be disallowed and recovered. Please be advised that your organization, as part of the orderly
closeout process will need to submit the necessary closeout documents (i.e., Final Research Performance
Progress Report, Final Invention Statement, and the Final Federal Financial Report (FFR), as applicable)
within 120 days of the end of this grant.

NIH is taking this enforcement action in accordance with 2 C.F.R. § 200.340 as implemented in NIH GPS
Section 8.5.2. This revised award represents the final decision of the NIH. It shall be the final decision of the
Department of Health and Human Services (HHS) unless within 30 days after receiving this decision you
mail or email a written notice of appeal to Dr. Matthew Memoli. Please include a copy of this decision, your
appeal justification, total amount in dispute, and any material or documentation that will support your
position. Finally, the appeal must be signed by the institutional official authorized to sign award applications
and must be dated no later than 30 days after the date of this notice.

This revision is made per the letter dated March 21, 2025 and supersedes the Notice of Award, (NoA)
issued: 08/19/2024
****************************************************************************************************
***


SUPPLEMENT TERM
This supplement provides a total award amount of $100,000 ODP co-funding.

This supplement provides $100,000 (total cost) of co-funding from The Office of Disease Prevention (ODP)
in support of two trainees (Dr. Sujata Sapkota and Dr. Josephine Tumuhamye) working in Nepal and
Uganda. Any change in the use of these funds requires FIC prior approval.


SUPPLEMENT PROGRESS REPORT
The progress report for the parent award must include separate progress update(s) for this supplement.

ACKNOWLEDGEMENT OF FUNDING
Each publication, press release, or other document about research supported by an NIH award must include
acknowledgment of FIC and ODP and NIH award support with the following or comparable footnote and
disclaimer:
Research reported in this publication was supported by the Fogarty International Center and The Office of
Disease Prevention (ODP) of the National Institutes of Health. The content is solely the responsibility of the
authors and does not necessarily represent the official views of the National Institutes of Health.
Prior to issuing a press release concerning the outcome of this research, please notify the NIH awarding IC
in advance to allow for coordination.
This publication requirement applies not only to the primary grantee, but also to any subcontractors and /or
trainees involved with the project.
For additional information, please visit http://www.nih.gov/about/publicaccess/.

HUMAN SUBJECT AND ANIMAL RESEARCH INFORMATION FOR TRAINING GRANTS – DELAYED ONSET
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research training involving human subjects begins. These assurances apply to all research grants, any
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subjects are involved may be undertaken if the institution has an active FWA assurance and if the project
has been reviewed and approved by the appropriate Institutional Review Board (IRB).

Grant recipients must provide human subjects and IRB approval information in Section G.1 “Special NOA
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during the reporting period. Additional information on this requirement can be found in the FIC Progress
Report Supplemental Guidance on the FIC webpage: http://www.fic.nih.gov/Grants/Pages/progress-
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FOREIGN TRAVEL
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UNIFORM GRANT GUIDANCE AND REVISED NIH GRANTS POLICY STATEMENT
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adapting OMB’s final Uniform Grant Guidance in 2 CFR part 200 with certain amendments, based on existing
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2014. The current revised NIH Grants Policy Statement is applicable to all NIH grants and cooperative
agreements.
Information regarding the NIH Grants Policy Statement can be found
at: https://grants.nih.gov/policy/index.htm
Highlighted below are some select items of costs of particular note to FIC grant recipients:

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         with existing policy.
       · Value Added Tax: Foreign taxes charged for the purchase of goods or services that a non-Federal
         entity is legally required to pay in country is an allowable expense under Federal awards. However,
         for many countries an exemption of this tax for research exists. Consequently, requesting this cost
         should be unallowable for research grants involving such countries as a performance site.
       · Visa Costs: Visa costs may be allowable when identified in specific FOAs or when within the scope
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ALL OTHER TERMS AND CONDITIONS OF THIS PROGRAM AS NOTED IN THE FUNDING ANNOUNCEMENT,
THE PARENT AWARD TERMS, AND THE NIH GRANTS POLICY STATEMENT ARE HEREBY INCORPORATED
INTO THE TERMS OF THIS SUPPLEMENT.




SPREADSHEET SUMMARY
AWARD NUMBER: 3D43TW012274-03S2 REVISED

INSTITUTION: UNIVERSITY OF MARYLAND BALTIMORE


Budget                                                         Year 3
Other                                                          $37,037
Stipends                                                       $60,000
TOTAL FEDERAL DC                                               $97,037
TOTAL FEDERAL F&A                                              $2,963
TOTAL COST                                                     $100,000


Facilities and Administrative Costs                            Year 3
F&A Cost Rate 1                                                8%
F&A Cost Base 1                                                $37,037
F&A Costs 1                                                    $2,963




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      EXHIBIT 6
                  Department
                Case         of Health and Human Document
                     1:25-cv-10814-BEM           Services 77-19                                      Filed 04/14/25            Page 45 of 76Notice of Award
                    National Institutes of Health                                                                                                 FAIN# D43TW012274
                    FOGARTY INTERNATIONAL CENTER                                                                                                    Federal Award Date
                                                                                                                                                           03/24/2025



Recipient Information                           Federal Award Information
1. Recipient Name
   UNIVERSITY OF MARYLAND, BALTIMORE
   220 ARCH ST OFC LEVEL2                       11. Award Number
   BALTIMORE, MD 21201                             3D43TW012274-03S3

2. Congressional District of Recipient          12. Unique Federal Award Identification Number (FAIN)
   07                                              D43TW012274

3. Payment System Identifier (ID)               13. Statutory Authority
   1526002036A1                                    42 USC 287b 42 CFR 63a

4. Employer Identification Number (EIN)         14. Federal Award Project Title
   526002036                                       Supplement_INSIGHT_Orientation

5. Data Universal Numbering System (DUNS)       15. Assistance Listing Number
   188435911                                       93.989

6. Recipient’s Unique Entity Identifier         16. Assistance Listing Program Title
   Z9CRZKD42ZT1                                    International Research and Research Training

7. Project Director or Principal Investigator   17. Award Action Type
   Manhattan E Charurat, PHD (Contact)             Supplement (REVISED)
   Professor
  Redacted                                      18. Is the Award R&D?
  Redacted                                         Yes

8. Authorized Official                                                Summary Federal Award Financial Information
   KENNETH E FAHNESTOCK                          19. Budget Period Start Date 08/30/2024 – End Date 03/21/2025
  Redacted                                       20. Total Amount of Federal Funds Obligated by this Action                                                                 $0
  Redacted                                                20 a. Direct Cost Amount                                                                                          $0
                                                          20 b. Indirect Cost Amount                                                                                        $0
                                                 21. Authorized Carryover
Federal Agency Information                       22. Offset
9. Awarding Agency Contact Information           23. Total Amount of Federal Funds Obligated this budget period                                                    $75,000
   SATABDI RAYCHOWDHURY                          24. Total Approved Cost Sharing or Matching, where applicable                                                              $0
   Grants Management Specialist                  25. Total Federal and Non-Federal Approved this Budget Period                                                     $75,000
   FOGARTY INTERNATIONAL CENTER                                        ---------------------------------------------------------------------------------------------------------
   satabdi.raychowdhury@nih.gov                  26. Project Period Start Date 08/30/2024 – End Date 03/21/2025
   301-496-9750                                  27. Total Amount of the Federal Award including Approved Cost                                                $3,563,052
10. Program Official Contact Information             Sharing or Matching this Project Period
   Flora N Katz
   Program                                      28. Authorized Treatment of Program Income
   FOGARTY INTERNATIONAL CENTER                    Additional Costs
   flora.katz@nih.gov
   301-402-9591                                 29. Grants Management Officer - Signature
                                                   BRUCE R BUTRUM
30. Remarks
    Acceptance of this award, including the "Terms and Conditions," is acknowledged by the recipient when funds are drawn down or
    otherwise requested from the grant payment system.




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                                                             Notice of Award
International Research Training Award
Department of Health and Human Services
National Institutes of Health

FOGARTY INTERNATIONAL CENTER

  SECTION I – AWARD DATA – 3D43TW012274-03S3 REVISED



  Principal Investigator(s):
  Manhattan E Charurat (contact), PHD
  ANNA M MANDALAKAS, MD
  Vishwajit Laxmikant Nimgaonkar, MD
  Janet M Turan, PHD

  Award e-mailed to: Redacted

  Dear Authorized Official:

  The National Institutes of Health hereby revises this award (see “Award Calculation” in Section I and “Terms
  and Conditions” in Section III) to UNIVERSITY OF MARYLAND BALTIMORE in support of the above
  referenced project. This award is pursuant to the authority of 42 USC 287b 42 CFR 63a and is subject to the
  requirements of this statute and regulation and of other referenced, incorporated or attached terms and
  conditions.

  Acceptance of this award, including the "Terms and Conditions," is acknowledged by the recipient when
  funds are drawn down or otherwise requested from the grant payment system.

  Each publication, press release, or other document about research supported by an NIH award must include
  an acknowledgment of NIH award support and a disclaimer such as “Research reported in this publication
  was supported by the Fogarty International Center of the National Institutes of Health under Award Number
  D43TW012274. The content is solely the responsibility of the authors and does not necessarily represent the
  official views of the National Institutes of Health.” Prior to issuing a press release concerning the outcome
  of this research, please notify the NIH awarding IC in advance to allow for coordination.

  Award recipients must promote objectivity in research by establishing standards that provide a reasonable
  expectation that the design, conduct and reporting of research funded under NIH awards will be free from
  bias resulting from an Investigator’s Financial Conflict of Interest (FCOI), in accordance with the 2011
  revised regulation at 42 CFR Part 50 Subpart F. The Institution shall submit all FCOI reports to the NIH
  through the eRA Commons FCOI Module. The regulation does not apply to Phase I Small Business
  Innovative Research (SBIR) and Small Business Technology Transfer (STTR) awards. Consult the NIH
  website http://grants.nih.gov/grants/policy/coi/ for a link to the regulation and additional important
  information.

  If you have any questions about this award, please direct questions to the Federal Agency contacts.

  Sincerely yours,

  BRUCE R BUTRUM
  Grants Management Officer
  FOGARTY INTERNATIONAL CENTER

  Additional information follows




  Cumulative Award Calculations for this Budget Period (U.S. Dollars)
  Other                                                                                                          $69,444

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 Federal Direct Costs                                                                                            $69,444
 Federal F&A Costs                                                                                                $5,556
 Approved Budget                                                                                                 $75,000
 Total Amount of Federal Funds Authorized (Federal Share)                                                        $75,000
 TOTAL FEDERAL AWARD AMOUNT                                                                                      $75,000

 AMOUNT OF THIS ACTION (FEDERAL SHARE)                                                                               $0


       SUMMARY TOTAL FEDERAL AWARD AMOUNT YEAR ( 3 ) (for this Document Number)
AWARD NUMBER                                            TOTAL FEDERAL AWARD AMOUNT
3D43TW012274-03S3                                                                $75,000
5D43TW012274-03                                                               $1,036,244
3D43TW012274-03S1                                                               $160,746
3D43TW012274-03S2                                                               $100,000
TOTAL                                                                        $1,371,990

                     SUMMARY TOTALS FOR ALL YEARS (for this Document Number)
   YR                    THIS AWARD                            CUMULATIVE TOTALS
    3                                    $75,000                                 $1,371,990

 Fiscal Information:
 Payment System Identifier:          1526002036A1
 Document Number:                    DTW012274A
 PMS Account Type:                   P (Subaccount)
 Fiscal Year:                        2024

 IC       CAN                                                                  2024
 TW       8476367                                                              $75,000



 NIH Administrative Data:
 PCC: GLBLFELO / OC: 41012 / Released: 03/21/2025
 Award Processed: 03/24/2025 12:08:10 AM

 SECTION II – PAYMENT/HOTLINE INFORMATION – 3D43TW012274-03S3 REVISED

 For payment and HHS Office of Inspector General Hotline information, see the NIH Home Page at
 http://grants.nih.gov/grants/policy/awardconditions.htm

 SECTION III – STANDARD TERMS AND CONDITIONS – 3D43TW012274-03S3 REVISED

 This award is based on the application submitted to, and as approved by, NIH on the above-titled project and
 is subject to the terms and conditions incorporated either directly or by reference in the following:

      a. The grant program legislation and program regulation cited in this Notice of Award.
      b. Conditions on activities and expenditure of funds in other statutory requirements, such as
         those included in appropriations acts.
      c. 45 CFR Part 75.
      d. National Policy Requirements and all other requirements described in the NIH Grants Policy
         Statement, including addenda in effect as of the beginning date of the budget period.
      e. Federal Award Performance Goals: As required by the periodic report in the RPPR or in the final
         progress report when applicable.
      f. This award notice, INCLUDING THE TERMS AND CONDITIONS CITED BELOW.

 (See NIH Home Page at http://grants.nih.gov/grants/policy/awardconditions.htmfor certain
 references cited above.)

 Research and Development (R&D): All awards issued by the National Institutes of Health (NIH) meet the
 definition of “Research and Development” at 45 CFR Part§ 75.2. As such, auditees should identify NIH
 awards as part of the R&D cluster on the Schedule of Expenditures of Federal Awards (SEFA). The auditor

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should test NIH awards for compliance as instructed in Part V, Clusters of Programs. NIH recognizes that
some awards may have another classification for purposes of indirect costs. The auditor is not required to
report the disconnect (i.e., the award is classified as R&D for Federal Audit Requirement purposes but non-
research for indirect cost rate purposes), unless the auditee is charging indirect costs at a rate other than
the rate(s) specified in the award document(s).

An unobligated balance may be carried over into the next budget period without Grants Management Officer
prior approval.

This grant is excluded from Streamlined Noncompeting Award Procedures (SNAP).

This award is subject to the requirements of 2 CFR Part 25 for institutions to obtain a unique entity identifier
(UEI) and maintain an active registration in the System for Award Management (SAM). Should a
consortium/subaward be issued under this award, a UEI requirement must be included. See
http://grants.nih.gov/grants/policy/awardconditions.htm for the full NIH award term implementing this
requirement and other additional information.

This award has been assigned the Federal Award Identification Number (FAIN) D43TW012274. Recipients
must document the assigned FAIN on each consortium/subaward issued under this award.

Based on the project period start date of this project, this award is likely subject to the Transparency Act
subaward and executive compensation reporting requirement of 2 CFR Part 170. There are conditions that
may exclude this award; see http://grants.nih.gov/grants/policy/awardconditions.htm for additional award
applicability information.

In accordance with P.L. 110-161, compliance with the NIH Public Access Policy is now mandatory. For more
information, see NOT-OD-08-033 and the Public Access website: http://publicaccess.nih.gov/.


This award represents the final year of the competitive segment for this grant. See the NIH Grants Policy
Statement Section 8.6 Closeout for complete closeout requirements at:
http://grants.nih.gov/grants/policy/policy.htm#gps.

A final expenditure Federal Financial Report (FFR) (SF 425) must be submitted through the Payment
Management System (PMS) within 120 days of the period of performance end date; see the NIH Grants
Policy Statement Section 8.6.1 Financial Reports, http://grants.nih.gov/grants/policy/policy.htm#gps, for
additional information on this submission requirement. The final FFR must indicate the exact balance of
unobligated funds and may not reflect any unliquidated obligations. There must be no discrepancies
between the final FFR expenditure data and the real-time cash drawdown data in PMS. NIH will close the
awards using the last recorded cash drawdown level in PMS for awards that do not require a final FFR on
expenditures. It is important to note that for financial closeout, if a grantee fails to submit a required final
expenditure FFR, NIH will close the grant using the last recorded cash drawdown level.

A Final Invention Statement and Certification form (HHS 568), (not applicable to training, construction,
conference or cancer education grants) must be submitted within 120 days of the expiration date. The HHS
568 form may be downloaded at: http://grants.nih.gov/grants/forms.htm. This paragraph does not apply to
Training grants, Fellowships, and certain other programs—i.e., activity codes C06, D42, D43, D71, DP7, G07,
G08, G11, K12, K16, K30, P09, P40, P41, P51, R13, R25, R28, R30, R90, RL5, RL9, S10, S14, S15, U13, U14, U41,
U42, U45, UC6, UC7, UR2, X01, X02.

Unless an application for competitive renewal is submitted, a Final Research Performance Progress Report
(Final RPPR) must also be submitted within 120 days of the period of performance end date. If a competitive
renewal application is submitted prior to that date, then an Interim RPPR must be submitted by that date as
well. Instructions for preparing an Interim or Final RPPR are at:
https://grants.nih.gov/grants/rppr/rppr_instruction_guide.pdf. Any other specific requirements set forth in
the terms and conditions of the award must also be addressed in the Interim or Final RPPR. Note that data
reported within Section I of the Interim and Final RPPR forms will be made public and should be written for a
lay person audience.

NIH requires electronic submission of the final invention statement through the Closeout feature in the
Commons.

NOTE: If this is the final year of a competitive segment due to the transfer of the grant to another institution,
then a Final RPPR is not required. However, a final expenditure FFR is required and must be submitted

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 electronically as noted above. If not already submitted, the Final Invention Statement is required and should
 be sent directly to the assigned Grants Management Specialist.


 Recipients must administer the project in compliance with federal civil rights laws that prohibit
 discrimination on the basis of race, color, national origin, disability, age, and comply with applicable
 conscience protections. The recipient will comply with applicable laws that prohibit discrimination on the
 basis of sex, which includes discrimination on the basis of gender identity, sexual orientation, and
 pregnancy. Compliance with these laws requires taking reasonable steps to provide meaningful access to
 persons with limited English proficiency and providing programs that are accessible to and usable by
 persons with disabilities. The HHS Office for Civil Rights provides guidance on complying with civil rights
 laws enforced by HHS. See https://www.hhs.gov/civil-rights/for-providers/provider-obligations/index.html
 and https://www.hhs.gov/.

     ·    Recipients of FFA must ensure that their programs are accessible to persons with limited English
          proficiency. For guidance on meeting the legal obligation to take reasonable steps to ensure
          meaningful access to programs or activities by limited English proficient individuals,
          see https://www.hhs.gov/civil-rights/for-individuals/special-topics/limited-english-proficiency/fact-
          sheet-guidance/index.html and https://www.lep.gov.
     ·    For information on an institution’s specific legal obligations for serving qualified individuals with
          disabilities, including providing program access, reasonable modifications, and to provide effective
          communication, see http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html.
     ·    HHS funded health and education programs must be administered in an environment free of sexual
          harassment; see https://www.hhs.gov/civil-rights/for-individuals/sex-discrimination/index.html.
          For information about NIH's commitment to supporting a safe and respectful work environment,
          who to contact with questions or concerns, and what NIH's expectations are for institutions and the
          individuals supported on NIH-funded awards, please see
          https://grants.nih.gov/grants/policy/harassment.htm.
     ·    For guidance on administering programs in compliance with applicable federal religious
          nondiscrimination laws and applicable federal conscience protection and associated anti-
          discrimination laws, see https://www.hhs.gov/conscience/conscience-protections/index.html and
          https://www.hhs.gov/conscience/religious-freedom/index.html.

 In accordance with the regulatory requirements provided at 45 CFR 75.113 and Appendix XII to 45 CFR Part
 75, recipients that have currently active Federal grants, cooperative agreements, and procurement contracts
 with cumulative total value greater than $10,000,000 must report and maintain information in the System for
 Award Management (SAM) about civil, criminal, and administrative proceedings in connection with the
 award or performance of a Federal award that reached final disposition within the most recent five-year
 period. The recipient must also make semiannual disclosures regarding such proceedings. Proceedings
 information will be made publicly available in the designated integrity and performance system (currently
 the Federal Awardee Performance and Integrity Information System (FAPIIS)). Full reporting requirements
 and procedures are found in Appendix XII to 45 CFR Part 75. This term does not apply to NIH fellowships.

 Treatment of Program Income:
 Additional Costs

 SECTION IV – TW SPECIFIC AWARD CONDITIONS – 3D43TW012274-03S3 REVISED


Clinical Trial Indicator: No
This award does not support any NIH-defined Clinical Trials. See the NIH Grants Policy Statement Section 1.2
for NIH definition of Clinical Trial.

 Grant Termination
 It is the policy of NIH not to prioritize Research programs based primarily on artificial and non-scientific
 categories, including amorphous equity objectives, are antithetical to the scientific inquiry, do nothing to
 expand our knowledge of living systems, provide low returns on investment, and ultimately do not enhance
 health, lengthen life, or reduce illness. Worse, so-called diversity, equity, and inclusion (“DEI”) studies are
 often used to support unlawful discrimination on the basis of race and other protected characteristics,
 which harms the health of Americans. Therefore, it is the policy of NIH not to prioritize such research
 programs. Therefore, this project is terminated. UNIVERSITY OF MARYLAND BALTIMORE may request funds
 to support patient safety and orderly closeout of the project. Funds used to support any other research
 activities will be disallowed and recovered. Please be advised that your organization, as part of the orderly
 closeout process will need to submit the necessary closeout documents (i.e., Final Research Performance

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Progress Report, Final Invention Statement, and the Final Federal Financial Report (FFR), as applicable)
within 120 days of the end of this grant.

NIH is taking this enforcement action in accordance with 2 C.F.R. § 200.340 as implemented in NIH GPS
Section 8.5.2. This revised award represents the final decision of the NIH. It shall be the final decision of the
Department of Health and Human Services (HHS) unless within 30 days after receiving this decision you
mail or email a written notice of appeal to Dr. Matthew Memoli. Please include a copy of this decision, your
appeal justification, total amount in dispute, and any material or documentation that will support your
position. Finally, the appeal must be signed by the institutional official authorized to sign award applications
and must be dated no later than 30 days after the date of this notice.

This revision is made per the letter dated March 21, 2025 and supersedes the Notice of Award, (NoA)
issued: 09/05/2024
****************************************************************************************************
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AWARD FOR ORIENTATION SUPPLEMENT
This supplement provides $75,000 (total cost), as requested, in support to the Global Health Program for
Fellows and Scholars LAUNCH 2025 Orientation Activities for the seven Support Centers (UNC, UMD, UW,
Harvard, UCSF, Yale and WU in St. Louis) held on NIH campus or Virtual. Any change in the use of these
funds requires FIC prior approval. These funds can not be used for Honoria costs.

SUPPLEMENT PROGRESS REPORT
The progress report for the parent award must include separate progress update(s) for this supplement.

ACKNOWLEDGEMENT OF FUNDING
Each publication, press release, or other document about research supported by an NIH award must include
acknowledgment of FIC and NIH award support with the following or comparable footnote and disclaimer:
Research reported in this publication was supported by the Fogarty International Center of the National
Institutes of Health. The content is solely the responsibility of the authors and does not necessarily
represent the official views of the National Institutes of Health.
Prior to issuing a press release concerning the outcome of this research, please notify the NIH awarding IC
in advance to allow for coordination.
This publication requirement applies not only to the primary grantee, but also to any subcontractors and /or
trainees involved with the project.
For additional information, please visit http://www.nih.gov/about/publicaccess/.


UNIFORM GRANT GUIDANCE AND REVISED NIH GRANTS POLICY STATEMENT
Per Notice Number NOT-OD-15-046, the Department of Health and Human Services published an interim rule
adapting OMB’s final Uniform Grant Guidance in 2 CFR part 200 with certain amendments, based on existing
HHS regulations, to supplement the guidance as needed for the Department effective December 26,
2014. The current revised NIH Grants Policy Statement is applicable to all NIH grants and cooperative
agreements.
Information regarding the NIH Grants Policy Statement can be found
at: https://grants.nih.gov/policy/index.htm
Highlighted below are some select items of costs of particular note to FIC grant recipients:

       · F&A for Foreign and International Organizations: NIH and FIC continue to provide F&A costs under
         grants to foreign and international organizations will be funded at a rate of 8 percent of modified
         total direct costs, exclusive of equipment, tuition and related fees, and subawards in excess of
         $25,000. These funds are paid to support the costs of compliance with federal requirements. This
         applies to direct foreign awards and foreign subawards.
       · F&A for Career/Fellowship/Training Awards: NIH and FIC continue to provide F&A costs under
         research training, some education grants, and Career (K) awards will be funded at a rate of 8
         percent of modified total direct costs, exclusive of tuition and fees, health insurance (when
         awarded as part of tuition and fees), equipment, and consortiums in excess of $25,000, consistent
         with existing policy.
       · Value Added Tax: Foreign taxes charged for the purchase of goods or services that a non-Federal
         entity is legally required to pay in country is an allowable expense under Federal awards. However,
         for many countries an exemption of this tax for research exists. Consequently, requesting this cost
         should be unallowable for research grants involving such countries as a performance site.


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       · Visa Costs: Visa costs may be allowable when identified in specific FOAs or when within the scope
         of an approved research project. Generally, allowable direct cost as part of recruiting costs on an
         NIH grant, as long as the institution has an employee/employer relationship with the individual.

ALL OTHER TERMS AND CONDITIONS OF THIS PROGRAM AS NOTED IN THE FUNDING ANNOUNCEMENT,
THE PARENT AWARD TERMS, AND THE NIH GRANTS POLICY STATEMENT ARE HEREBY INCORPORATED
INTO THE TERMS OF THIS SUPPLEMENT.




SPREADSHEET SUMMARY
AWARD NUMBER: 3D43TW012274-03S3 REVISED

INSTITUTION: UNIVERSITY OF MARYLAND BALTIMORE


Budget                                                         Year 3
Other                                                          $69,444
TOTAL FEDERAL DC                                               $69,444
TOTAL FEDERAL F&A                                              $5,556
TOTAL COST                                                     $75,000


Facilities and Administrative Costs                            Year 3
F&A Cost Rate 1                                                8%
F&A Cost Base 1                                                $69,444
F&A Costs 1                                                    $5,556




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      EXHIBIT 7
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03//2025

Gregory Sorensen
UNIVERSITY OF MARYLAND BALTIMORE
Redacted


Dear Gregory Sorensen:
Effective with the date of this letter, funding for Project Number 5R01DE032225-02 is hereby
terminated pursuant to the Fiscal Year 2024 National Institutes of Health (“NIH”) Grants Policy
Statement,1 and 2 C.F.R. § 200.340(a)(2). This letter constitutes a notice of termination.2
The 2024 Policy Statement applies to your project because NIH approved your grant on
09/01/2024, and “obligations generally should be determined by reference to the law in effect
when the grants were made.”3
The 2024 Policy Statement “includes the terms and conditions of NIH grants and cooperative
agreements and is incorporated by reference in all NIH grant and cooperative agreement
awards.4” According to the Policy Statement, “NIH may … terminate the grant in whole or in
part as outlined in 2 CFR Part 200.340.5” At the time your grant was issued, 2 C.F.R. §
200.340(a)(2) permitted termination “[b]y the Federal awarding agency or pass-through entity, to
the greatest extent authorized by law, if an award no longer effectuates the program goals or
agency priorities.”
This award no longer effectuates agency priorities. Research programs based on gender identity
are often unscientific, have little identifiable return on investment, and do nothing to enhance the
health of many Americans. Many such studies ignore, rather than seriously examine, biological
realities. It is the policy of NIH not to prioritize these research programs. Although “NIH
generally will suspend (rather than immediately terminate) a grant and allow the recipient an
opportunity to take appropriate corrective action before NIH makes a termination decision,”6 no
corrective action is possible here. The premise of this award is incompatible with agency
priorities, and no modification of the project could align the project with agency priorities.

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Costs resulting from financial obligations incurred after termination are not allowable.7 Nothing
in this notice excuses either NIH or you from complying with the closeout obligations imposed
by 2 C.F.R. §§ 75.381-75.390. NIH will provide any information required by the Federal
Funding Accountability and Transparency Act or the Office of Management and Budget’s
regulations to USAspending.gov.8
Administrative Appeal
You may object and provide information and documentation challenging this termination.9 NIH
has established a first-level grant appeal procedure that must be exhausted before you may file an
appeal with the Departmental Appeals Board.10
You must submit a request for such review to Dr. Matt Memoli no later than 30 days after the
written notification of the determination is received, except that if you show good cause why an
extension of time should be granted, Dr. Memoli may grant an extension of time.11
The request for review must include a copy of the adverse determination, must identify the
issue(s) in dispute, and must contain a full statement of your position with respect to such
issue(s) and the pertinent facts and reasons in support of your position. In addition to the required
written statement, you shall provide copies of any documents supporting your claim.12


Sincerely,

Michelle G. Digitally signed by
            Michelle G. Bulls -S
            Date: 2025.03.20
Bulls -S    13:32:12 -04'00'
Michelle G. Bulls, on behalf *DEULHO+LGDOJR, Chief Grants Management Officer, National
Institute of Dental and Craniofacial Research
Director, Office of Policy for Extramural Research Administration
Office of Extramural Research




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      EXHIBIT 8
       Case 1:25-cv-10814-BEM               Document 77-19          Filed 04/14/25      Page 56 of 76


Subject:       Grant Termination Notiﬁcation
Date:          Friday, March 21, 2025 at 12:30:58 PM Eastern Daylight Time
From:          Bulls, Michelle G. (NIH/OD) [E]
To:            Redacted
Attachments: image001.jpg, image002.png


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3/21/2025
Christine R. Toalepai
University Of Maryland Baltimore
Redacted


Dear Christine R. Toalepai:
Effective with the date of this letter, funding for Project Number 5R01MH134721-02 is hereby
terminated pursuant to the Fiscal Year 2024 National Institutes of Health (“NIH”) Grants Policy
          [1]                                                                            [2]
Statement, and 2 C.F.R. § 200.340(a)(2). This letter constitutes a notice of termination.
The 2024 Policy Statement applies to your project because NIH approved your grant on
7/1/2024, and “obligations generally should be determined by reference to the law in effect when
                       [3]
the grants were made.”
The 2024 Policy Statement “includes the terms and conditions of NIH grants and cooperative
agreements and is incorporated by reference in all NIH grant and cooperative agreement awards.
[4]
    ” According to the Policy Statement, “NIH may … terminate the grant in whole or in part as
                                 [5]
outlined in 2 CFR Part 200.340. ” At the time your grant was issued, 2 C.F.R. § 200.340(a)(2)
permitted termination “[b]y the Federal awarding agency or pass-through entity, to the greatest
extent authorized by law, if an award no longer effectuates the program goals or agency
priorities.”
This award no longer effectuates agency priorities. Research programs based primarily on
artificial and non-scientific categories, including amorphous equity objectives, are antithetical to
the scientific inquiry, do nothing to expand our knowledge of living systems, provide low returns
on investment, and ultimately do not enhance health, lengthen life, or reduce illness. Worse, so-
called diversity, equity, and inclusion (“DEI”) studies are often used to support unlawful

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discrimination on the basis of race and other protected characteristics, which harms the health of
Americans. Therefore, it is the policy of NIH not to prioritize such research programs.
Although “NIH generally will suspend (rather than immediately terminate) a grant and allow the
recipient an opportunity to take appropriate corrective action before NIH makes a termination
            [6]
decision,” no corrective action is possible here. The premise of this award is incompatible
with agency priorities, and no modification of the project could align the project with agency
priorities.
                                                                                         [7]
Costs resulting from financial obligations incurred after termination are not allowable.
Nothing in this notice excuses either NIH or you from complying with the closeout obligations
imposed by 2 C.F.R. §§ 75.381-75.390. NIH will provide any information required by the
Federal Funding Accountability and Transparency Act or the Office of Management and
                                           [8]
Budget’s regulations to USAspending.gov.
Administrative Appeal
                                                                                         [9]
You may object and provide information and documentation challenging this termination.
NIH has established a first-level grant appeal procedure that must be exhausted before you may
                                                     [10]
file an appeal with the Departmental Appeals Board.
You must submit a request for such review to Dr. Matt Memoli no later than 30 days after the
written notification of the determination is received, except that if you show good cause why an
                                                                                  [11]
extension of time should be granted, Dr. Memoli may grant an extension of time.
The request for review must include a copy of the adverse determination, must identify the
issue(s) in dispute, and must contain a full statement of your position with respect to such
issue(s) and the pertinent facts and reasons in support of your position. In addition to the required
                                                                                        [12]
written statement, you shall provide copies of any documents supporting your claim.


Sincerely,




Michelle G. Bulls, on behalf of Theresa Jarosik, Chief Grants Management Officer, NIMH
Director, Office of Policy for Extramural Research Administration
Office of Extramural Research


[1]
      hEps://grants.nih.gov/grants/policy/nihgps/nihgps.pdf.

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[2]
      2 C.F.R. § 200.341(a); 45 C.F.R. § 75.373
[3]
      BenneE v. New Jersey, 470 U.S. 632, 638 (1985).
[4]
      NIH Grants Policy Statement at IIA-1.
[5]
      Id. at IIA-155.
[6]
      NIH Grants Policy Statement at IIA-156.
[7]
      See 2 C.F.R. § 200.343 (2024).
[8]
      2 C.F.R. § 200.341(c); 45 C.F.R. § 75.373(c)
[9]
   See 45 C.F.R. § 75.374.
[10]
     See 42 C.F.R. Part 50, Subpart D
[11]
        11 Id. § 50.406(a)
[12]
        12 Id. § 50.406(b)




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      EXHIBIT 9
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Subject:       Grant Termination Notiﬁcation
Date:          Friday, March 21, 2025 at 12:30:33 PM Eastern Daylight Time
From:          Bulls, Michelle G. (NIH/OD) [E]
To:            Redacted
Attachments: image001.jpg, image002.png


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3/21/2025
Toalepai, Christine R.
University Of Maryland Baltimore
Redacted


Dear Toalepai, Christine R.:
Effective with the date of this letter, funding for Project Number 5R01MD019029-02 is hereby
terminated pursuant to the Fiscal Year 2024 National Institutes of Health (“NIH”) Grants Policy
          [1]                                                                            [2]
Statement, and 2 C.F.R. § 200.340(a)(2). This letter constitutes a notice of termination.
The 2024 Policy Statement applies to your project because NIH approved your grant on
4/1/2024, and “obligations generally should be determined by reference to the law in effect when
                       [3]
the grants were made.”
The 2024 Policy Statement “includes the terms and conditions of NIH grants and cooperative
agreements and is incorporated by reference in all NIH grant and cooperative agreement awards.
[4]
    ” According to the Policy Statement, “NIH may … terminate the grant in whole or in part as
                                 [5]
outlined in 2 CFR Part 200.340. ” At the time your grant was issued, 2 C.F.R. § 200.340(a)(2)
permitted termination “[b]y the Federal awarding agency or pass-through entity, to the greatest
extent authorized by law, if an award no longer effectuates the program goals or agency
priorities.”
This award no longer effectuates agency priorities. Research programs based primarily on
artificial and non-scientific categories, including amorphous equity objectives, are antithetical to
the scientific inquiry, do nothing to expand our knowledge of living systems, provide low returns
on investment, and ultimately do not enhance health, lengthen life, or reduce illness. Worse, so-
called diversity, equity, and inclusion (“DEI”) studies are often used to support unlawful

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discrimination on the basis of race and other protected characteristics, which harms the health of
Americans. Therefore, it is the policy of NIH not to prioritize such research programs.
Although “NIH generally will suspend (rather than immediately terminate) a grant and allow the
recipient an opportunity to take appropriate corrective action before NIH makes a termination
            [6]
decision,” no corrective action is possible here. The premise of this award is incompatible
with agency priorities, and no modification of the project could align the project with agency
priorities.
                                                                                         [7]
Costs resulting from financial obligations incurred after termination are not allowable.
Nothing in this notice excuses either NIH or you from complying with the closeout obligations
imposed by 2 C.F.R. §§ 75.381-75.390. NIH will provide any information required by the
Federal Funding Accountability and Transparency Act or the Office of Management and
                                           [8]
Budget’s regulations to USAspending.gov.
Administrative Appeal
                                                                                         [9]
You may object and provide information and documentation challenging this termination.
NIH has established a first-level grant appeal procedure that must be exhausted before you may
                                                     [10]
file an appeal with the Departmental Appeals Board.
You must submit a request for such review to Dr. Matt Memoli no later than 30 days after the
written notification of the determination is received, except that if you show good cause why an
                                                                                  [11]
extension of time should be granted, Dr. Memoli may grant an extension of time.
The request for review must include a copy of the adverse determination, must identify the
issue(s) in dispute, and must contain a full statement of your position with respect to such
issue(s) and the pertinent facts and reasons in support of your position. In addition to the required
                                                                                        [12]
written statement, you shall provide copies of any documents supporting your claim.


Sincerely,




Michelle G. Bulls, on behalf of Priscilla Grant, Chief Grants Management Officer, NIMHD
Director, Office of Policy for Extramural Research Administration
Office of Extramural Research


[1]
      hEps://grants.nih.gov/grants/policy/nihgps/nihgps.pdf.

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[2]
      2 C.F.R. § 200.341(a); 45 C.F.R. § 75.373
[3]
      BenneE v. New Jersey, 470 U.S. 632, 638 (1985).
[4]
      NIH Grants Policy Statement at IIA-1.
[5]
      Id. at IIA-155.
[6]
      NIH Grants Policy Statement at IIA-156.
[7]
      See 2 C.F.R. § 200.343 (2024).
[8]
      2 C.F.R. § 200.341(c); 45 C.F.R. § 75.373(c)
[9]
   See 45 C.F.R. § 75.374.
[10]
     See 42 C.F.R. Part 50, Subpart D
[11]
        11 Id. § 50.406(a)
[12]
        12 Id. § 50.406(b)




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   EXHIBIT 10
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Subject:     Fwd: Grant Termination Notiﬁcation
Date:        Friday, March 21, 2025 at 12:59:47 PM Eastern Daylight Time
From:        Sorensen, Gregory J.
To:          Frankenﬁeld, Jill
Attachments: image001.jpg, image002.png


Here is another one

Greg J. Sorensen
Assistant Director, Sponsored Programs Admin.
Office of Research and Development
University of Maryland, Baltimore
620 W. Lexington Street, 4th Floor
Baltimore, Maryland 21201
Redacted
Email: Redacted
(AWS Every other Monday, work hours 7am to 4pm)




      Begin forwarded message:

      From: "Bulls, Michelle G. (NIH/OD) [E]" <michelle.bulls@nih.gov>
      Subject: Grant Termination Notification
      Date: March 21, 2025 at 12:30:12 PM EDT
      To: "Redacted

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      3/21/2025
      Gregory J. Sorensen
      University Of Maryland Baltimore
      Redacted

      Dear Gregory J. Sorensen:
      Effective with the date of this letter, funding for Project Number 5UG1HD113162-02 is hereby terminated pursuant to the Fiscal Year 2024
                                                                      [1]                                                                          [2]
      National Institutes of Health (“NIH”) Grants Policy Statement, and 2 C.F.R. § 200.340(a)(2). This letter constitutes a notice of termination.
      The 2024 Policy Statement applies to your project because NIH approved your grant on 7/1/2024, and “obligations generally should be
                                                                              [3]
      determined by reference to the law in effect when the grants were made.”
      The 2024 Policy Statement “includes the terms and conditions of NIH grants and cooperative agreements and is incorporated by reference in all
                                                    [4]
      NIH grant and cooperative agreement awards. ” According to the Policy Statement, “NIH may … terminate the grant in whole or in part as
                                     [5]
      outlined in 2 CFR Part 200.340. ” At the time your grant was issued, 2 C.F.R. § 200.340(a)(2) permitted termination “[b]y the Federal
      awarding agency or pass-through entity, to the greatest extent authorized by law, if an award no longer effectuates the program goals or agency
      priorities.”
      This award no longer effectuates agency priorities. Research programs based primarily on artificial and non-scientific categories, including
      amorphous equity objectives, are antithetical to the scientific inquiry, do nothing to expand our knowledge of living systems, provide low
      returns on investment, and ultimately do not enhance health, lengthen life, or reduce illness. Worse, so-called diversity, equity, and inclusion
      (“DEI”) studies are often used to support unlawful discrimination on the basis of race and other protected characteristics, which harms the health
      of Americans. Therefore, it is the policy of NIH not to prioritize such research programs.
      Although “NIH generally will suspend (rather than immediately terminate) a grant and allow the recipient an opportunity to take appropriate
                                                                   [6]
      corrective action before NIH makes a termination decision,” no corrective action is possible here. The premise of this award is incompatible
      with agency priorities, and no modification of the project could align the project with agency priorities.
                                                                                              [7]
      Costs resulting from financial obligations incurred after termination are not allowable. Nothing in this notice excuses either NIH or you from
      complying with the closeout obligations imposed by 2 C.F.R. §§ 75.381-75.390. NIH will provide any information required by the Federal
                                                                                                                                 [8]
      Funding Accountability and Transparency Act or the Office of Management and Budget’s regulations to USAspending.gov.


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Administrative Appeal
                                                                                           [9]
You may object and provide information and documentation challenging this termination.   NIH has established a first-level grant appeal
                                                                                                    [10]
procedure that must be exhausted before you may file an appeal with the Departmental Appeals Board.
You must submit a request for such review to Dr. Matt Memoli no later than 30 days after the written notification of the determination is
                                                                                                                                       [11]
received, except that if you show good cause why an extension of time should be granted, Dr. Memoli may grant an extension of time.
The request for review must include a copy of the adverse determination, must identify the issue(s) in dispute, and must contain a full statement
of your position with respect to such issue(s) and the pertinent facts and reasons in support of your position. In addition to the required written
                                                                               [12]
statement, you shall provide copies of any documents supporting your claim.


Sincerely,




Michelle G. Bulls, on behalf of Margaret Young, Chief Grants Management Officer, NICHD
Director, Office of Policy for Extramural Research Administration
Office of Extramural Research

[1]
      https://grants.nih.gov/grants/policy/nihgps/nihgps.pdf.
[2]
      2 C.F.R. § 200.341(a); 45 C.F.R. § 75.373
[3]
      Bennett v. New Jersey, 470 U.S. 632, 638 (1985).
[4]
      NIH Grants Policy Statement at IIA-1.
[5]
      Id. at IIA-155.
[6]
      NIH Grants Policy Statement at IIA-156.
[7]
      See 2 C.F.R. § 200.343 (2024).
[8]
      2 C.F.R. § 200.341(c); 45 C.F.R. § 75.373(c)
[9]
   See 45 C.F.R. § 75.374.
[10]
     See 42 C.F.R. Part 50, Subpart D
[11]
       11 Id. § 50.406(a)
[12]
        12 Id. § 50.406(b)




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   EXHIBIT 11
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04/07/2025

University of Maryland Baltimore
Sponsored Programs Administration
620 W. Lexington St, 4th Floor
Baltimore, MD 21201

Christine R. Toalepai:

Funding for Project Number 1UC2CA293782-01 is hereby terminated pursuant to the
2024 National Institutes of Health (“NIH”) Grants Policy Statement, and 2 C.F.R.
§ 200.340(a)(4). This letter serves as a termination notice.

The 2024 Policy Statement applies to your project because NIH approved your grant on
08/29/2024, and “obligations for federal grants are generally determined by the laws,
regulations, and terms in effect at the time the grant was awarded, as outlined in the
Notice of Award (NOA) or grant agreement”. This “includes the terms and conditions of
NIH grants and cooperative agreements and is incorporated by reference in all NIH grant
and cooperative agreement awards.”

According to the Policy Statement, “NIH may … terminate the grant in whole or in part
as outlined in 2 CFR Part 200.340.” At the time your grant was issued, 2 C.F.R.
§ 200.340(a)(4) permitted termination “[b]y the Federal awarding agency or pass-through
entity, to the greatest extent authorized by law, if an award no longer effectuates the
program goals or agency priorities.”

This project no longer effectuates agency priorities. DEI: Research programs based
primarily on artificial and non-scientific categories, including amorphous equity
objectives, are antithetical to the scientific inquiry, do nothing to expand our knowledge
of living systems, provide low returns on investment, and ultimately do not enhance
health, lengthen life, or reduce illness. Worse, so-called diversity, equity, and inclusion
(“DEI”) studies are often used to support unlawful discrimination on the basis of race and
other protected characteristics, which harms the health of Americans. Therefore, it is the
policy of NIH not to prioritize such research programs. Therefore, there is no
modification of the project that would align with agency priorities.

Although “NIH generally will suspend (rather than immediately terminate) a grant and
allow the recipient an opportunity to take appropriate corrective action before NIH makes
a termination decision,” no corrective action is possible here.
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Costs resulting from financial obligations incurred after termination are not allowable.
Nothing in this notice excuses either NIH or you from complying with the closeout
obligations imposed by 2 C.F.R. §200.344. However, due to the immediate termination of
this project, NIH may require a shortened timeframe to submit closeout reports. Details
will be provided in the revised NOA issued by the Grants Management Official.

Administrative Appeal

Should you object to the termination, you may provide information and documentation
challenging this action. You must submit a request for such review to Acting Principal
Deputy Director Dr. Memoli (matthew.memoli@nih.gov) no later than 30 days after the
date of this letter. You may submit an extension request to Dr. Memoli and provide good
cause as to why an extension of time should be granted.

The request for review must include a copy of the adverse determination, must identify
the issue(s) in dispute, and must contain a full statement of your position with respect to
such issue(s) and the pertinent facts and reasons in support of your position. In addition
to the required written statement, you shall provide copies of any documents supporting
your claim.



Sincerely,



Crystal Wolfrey
Chief Grants Management Officer
National Cancer Institute



cc:
OPERA Director
Deputy Director for Extramural Research
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   EXHIBIT 14
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